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                                                                  08/03/2022
 JAMES WILLEY SHAYLER

  ·1· · · · · · · · ·SUPERIOR COURT OF CALIFORNIA

  ·2· · · · · · · · · · ·COUNTY OF LOS ANGELES

  ·3· · · · · · · · · (Spring Street Courthouse)

  ·4

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  ·6·   ·JAMES SHAYLER,· · · · · · · · · · ·)
  · ·   · · · · · · · · · · · · · · · · · · )
  ·7·   · · · · · · · · · · ·Plaintiff,· · ·)
  · ·   · · · · · ·vs.· · · · · · · · · · · ) Case No. 21TRCV00820
  ·8·   · · · · · · · · · · · · · · · · · · )
  · ·   ·PRAIRIE HOSPITALITY GROUP INC.· · ·)
  ·9·   ·et al.· · · · · · · · · · · · · · ·)
  · ·   · · · · · · · · · · ·Defendants.· · )
  10·   ·___________________________________)

  11

  12
  · · ·Videoconference
  13· ·Deposition of:· · · ·JAMES WILLEY SHAYLER
  · · · · · · · · · · · · · (Appearing Remotely)
  14

  15· ·Date and Time:· · · ·Wednesday, August 3, 2022
  · · · · · · · · · · · · · 1:05 p.m.
  16

  17·   ·Place:· · · · · · · ·20062 SW Birch Street
  · ·   · · · · · · · · · · · Suite 200
  18·   · · · · · · · · · · · Newport Beach, California
  · ·   · · · · · · · · · · · (Deponent's location)
  19

  20· ·Reporter:· · · · · · Linda A. Simpson, CSR,
  · · · · · · · · · · · · · RPR, RMR, CRR, CCRR
  21· · · · · · · · · · · · Certificate No. 2266

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  ·1· · · · Videoconference deposition of JAMES WILLEY SHAYLER,

  ·2· ·taken remotely stenographically by Linda A. Simpson,

  ·3· ·Certified Shorthand Reporter, Certificate No. 2266, and a

  ·4· ·Deposition Officer of the State of California, commencing

  ·5· ·on Wednesday, August 3, 2022, 1:05 p.m., at the

  ·6· ·deponent's location, Manning Law Firm, 20062 Southwest

  ·7· ·Birch Street, Suite 200, Newport Beach, California.

  ·8

  ·9· ·APPEARANCES OF COUNSEL:

  10
  · ·   · · · For the Plaintiff:
  11
  · ·   ·   ·   ·   ·   ·(Appearing Remotely)
  12·   ·   ·   ·   ·   ·MANNING LAW FIRM
  · ·   ·   ·   ·   ·   ·Attorneys at Law
  13·   ·   ·   ·   ·   ·BY:· BABAK HASHEMI, ESQ.
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  16
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  17
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  · ·   ·   ·   ·   ·   ·Attorneys at Law
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  21·   ·   ·   ·   ·   ·sahelianlaw@me.com

  22
  · · · · · Also Present Remotely:
  23
  · · · · · · ·Audrey Fung, exhibit technician
  24

  25


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  ·1· · ·Newport Beach, California - Wednesday, August 3, 2022
  ·2· · · · · · · · · · · · ·*· *· *· *        *
  ·3· · · · · · · · · · ·JAMES WILLEY SHAYLER,
  ·4· ·called as a witness, having been first duly sworn, was
  ·5· ·examined and testified as follows:
  ·6· · · · · · · · · · · · · EXAMINATION
  ·7· · · · Q.· · BY MR. SAHELIAN:· Good afternoon, Mr. Shayler,                      16:00
  ·8· ·how are you feeling today?
  ·9· · · · A.· · Okay.
  10· · · · Q.· · Are you under medication as we speak?
  11· · · · A.· · I do take some medication, yes.
  12· · · · Q.· · Do you take medication that might impair your                       13:05
  13· ·memory?
  14· · · · MR. HASHEMI:· As far as you know.
  15· · · · THE WITNESS:· I don't believe so.
  16· · · · Q.· · BY MR. SAHELIAN:· Okay.· Would you be kind
  17· ·enough to let us know what medication you've taken in the
  18· ·past 24 hours if it is likely to impair your memory?
  19· · · · A.· · I just take blood pressure medication,                              13:06
  20· ·cholesterol medication.· That's it.
  21· · · · Q.· · Okay.
  22· · · · A.· · And muscle relaxers.
  23· · · · Q.· · Okay.· Please identify the muscle relaxers.
  24· · · · A.· · I'm not sure the name of them.
  25· · · · Q.· · At one time you were on OxyContin; is that                          13:07


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  ·1· ·correct?
  ·2· · · · A.· · Yes.· Uh-huh.
  ·3· · · · Q.· · And are you still using OxyContin?
  ·4· · · · A.· · I tried --.· No, I'm off the pain medication.
  ·5· · · · Q.· · Okay.· Well, I want to congratulate you for
  ·6· ·that because I know a lot of people who use it and have                        13:07
  ·7· ·had extreme difficulty getting off, so my hat's off to
  ·8· ·you, Mr. Shayler.
  ·9· · · · A.· · Thank you.
  10· · · · Q.· · I understand you have some disabilities, and
  11· ·if you would be kind enough to answer a few questions
  12· ·about that.· I'm going to start with your right arm.· Can
  13· ·you tell me what you can and cannot do with your right                         13:07
  14· ·arm?
  15· · · · A.· · My right arm, I had surgery on it and pins put
  16· ·in my elbow.· And I got atrophy in my hand.· I got a
  17· ·pinched ulnar nerve in my -- my elbow and had to
  18· ·reconstruct it.· And it's hard for me to grasp things, to
  19· ·write, to eat.· It's very hard to hold utensils, and I                         13:08
  20· ·have limited use of my right arm.· Or hand.
  21· · · · Q.· · On an ordinary day, sir, do you use a knife, a
  22· ·fork, a spoon, or do you have somebody else feed you?
  23· · · · A.· · No, I'm -- I'm able to eat myself.
  24· · · · Q.· · Okay.· What can you and can you not do with
  25· ·your --?· Well, let me rephrase that because I don't want                      13:09


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  ·1· ·Mr. Hashemi to object to a compound question.
  ·2· · · · · · · What can you not do specifically with your
  ·3· ·right arm?· And that includes the entire arm and hand.
  ·4· · · · A.· · If doors are too heavy, sometimes it causes me
  ·5· ·pain to open doors.· See, what else?· It's hard for me to                      13:09
  ·6· ·do little small things with my hand.· Like doing buttons
  ·7· ·and things like that I have problems with.
  ·8· · · · Q.· · In other words, buttoning your shirt is
  ·9· ·difficult?
  10· · · · A.· · Yes.
  11· · · · Q.· · Anything else that you cannot do with your                          13:09
  12· ·right arm and hand?
  13· · · · A.· · It's difficult for me to write with my right
  14· ·arm because I am right-handed, it's so difficult, but I'm
  15· ·able to write, but it's sometimes not legible.
  16· · · · Q.· · All right.· Let's move on to your --.· Well,
  17· ·before we do that, have you told me everything that you
  18· ·cannot do with your right arm and hand?                                        13:10
  19· · · · A.· · I believe so.
  20· · · · Q.· · Okay.· Let's move on to your left arm and
  21· ·hand.· If you would be kind enough to tell me what you
  22· ·can and cannot do with your right arm and hand?
  23· · · · A.· · I was talking about my right arm and hand when
  24· ·we were discussing my -- this hand, my right hand.· My
  25· ·left hand is okay.                                                             13:10


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  ·1· · · · Q.· · I'm sorry, I'm sorry for inter -- I apologize
  ·2· ·for interjecting.· I meant tell me everything you can and
  ·3· ·cannot do with your left arm and hand.
  ·4· · · · A.· · My left arm and hand seems to be working okay.
  ·5· ·I do have some -- some shoulder issues; but other than
  ·6· ·that, my hand's fine.· My left hand and arm is fine.                           13:11
  ·7· · · · Q.· · Very well.· Let's go to your right leg.
  ·8· ·That's including the foot.· So from the hip down to the
  ·9· ·foot, tell me what you can and cannot do with your right
  10· ·leg and foot.
  11· · · · A.· · Well, start down from my foot.· I have                              13:11
  12· ·neuropathy on my feet.· They -- my bottom of my feet
  13· ·burn, and they're pins and needles.· And I don't have
  14· ·good mobility with my feet, I'm --.· My mobility is off.
  15· ·I -- I fall.· And because of neuropathy, I'm unsteady on                       13:12
  16· ·my feet.
  17· · · · · · · And then I've had my right leg, I had a knee
  18· ·replacement on my right leg, and the surgery didn't go
  19· ·that well, and I still have pain and -- and stiffness in
  20· ·that knee.
  21· · · · Q.· · With respect to your right leg and foot, what                       13:12
  22· ·surgeries have you had?
  23· · · · A.· · A knee replacement on my right leg.
  24· · · · Q.· · Any other surgeries?
  25· · · · A.· · No.· Oh, yeah, I've had other surgeries.           I


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  ·1· ·had on the left --
  ·2· · · · Q.· · No, no, no.· I'm strictly limiting my question
  ·3· ·to your right leg and foot.
  ·4· · · · A.· · No other surgeries, sir.                                            13:13
  ·5· · · · Q.· · With respect to your left leg and foot, can
  ·6· ·you tell me what you can and cannot do?
  ·7· · · · A.· · With my left leg?· Same -- same with my left
  ·8· ·leg.· I have neuropathy from a pinched sciatic nerve.· My
  ·9· ·L4-L5-S1 bilaterally is pinched, causes the neuropathy on                      13:13
  10· ·both feet, including my left.· And I had a knee
  11· ·replacement on my left as well and my right, so I've had
  12· ·two knee replacements.· And again the surgeries left my
  13· ·knees stiff and painful.
  14· · · · Q.· · Have you told me all the surgeries you've had
  15· ·on your legs, both legs?
  16· · · · A.· · Yes.
  17· · · · Q.· · With respect to both hips, have you had hip                         13:14
  18· ·replacement surgery?
  19· · · · A.· · No.
  20· · · · Q.· · What are the conditions of your hips?
  21· · · · A.· · They seem to be okay.· I do have a limp.· One
  22· ·of the surgeries left one of my legs longer than the
  23· ·other, and it leaves me with a limp.· I don't believe                          13:14
  24· ·it's my hip.
  25· · · · Q.· · Now when you're at home, do you walk or do you


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   ·1· ·use a wheelchair?
   ·2· · · · A.· · When I'm at home, I use a -- inside my condo,
   ·3· ·I use a -- a cane, sometimes a walker.· Sometimes if I'm                       13:15
   ·4· ·just going a short distance, I may not use either, if I'm
   ·5· ·just going a little bit.
   ·6· · · · Q.· · Do you live by yourself?
   ·7· · · · A.· · Yes, I do.
   ·8· · · · Q.· · Do you cook on your own?
   ·9· · · · A.· · Limited, yes.
   10· · · · Q.· · When you do, when you're in the kitchen, do
   11· ·you use a cane or a walker, any other device to help you?                      13:15
   12· · · · A.· · If it's a bad day, I'll use a walker.· If it's
   13· ·a good day, I'll use a cane -- or if it's a good day, I
   14· ·won't use a cane.· If it's a good day even.
   15· · · · Q.· · If it's a good day, you will also not use a
   16· ·cane anywhere around the house; is that correct?
   17· · · · A.· · Yes, if it's a good day and I'm only be up for                      13:16
   18· ·short periods of time, I may not use either/or.
   19· · · · Q.· · Do you have a wheelchair at home?
   20· · · · A.· · No, I just use a walker and a cane.
   21· · · · Q.· · Do you have a wheelchair in your car?
   22· · · · A.· · No, just a walker.
   23· · · · Q.· · Where do you leave your walker?· In the car or
   24· ·at home?                                                                       13:17
   25· · · · A.· · I have a walker at home, and I have one in my


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   ·1· ·car.· And a cane.· At all times.
   ·2· · · · Q.· · So when you're making your way from your home
   ·3· ·to your car, what do you do with either device?
   ·4· · · · A.· · When I get up in the morning, I -- I see how
   ·5· ·my legs are.· If they are wobbly, I will use a walker.                         13:17
   ·6· ·If they seem to be okay, then I'll use a cane, but I
   ·7· ·always leave the cane -- at least a cane when I walk to
   ·8· ·my car.
   ·9· · · · Q.· · So are there instances where you end up with
   10· ·two canes in the car?
   11· · · · A.· · No.· I have one cane.· I take it in and out of
   12· ·my car, so I'm always walking with a cane to my car and
   13· ·back.· Or a walker.                                                            13:17
   14· · · · Q.· · I see.· So you only own one walker and one
   15· ·cane; is that correct?
   16· · · · A.· · No, I own two walkers and one cane.
   17· · · · Q.· · So you always leave one walker in the car; is
   18· ·that correct?
   19· · · · A.· · Yes.
   20· · · · Q.· · And to get from your house to your car, do you
   21· ·have to take steps?
   22· · · · A.· · No, I -- I don't use -- I don't use stairs at                       13:18
   23· ·all.· I've fallen and have to go to the hospital.· I use
   24· ·an elevator.
   25· · · · Q.· · So you do not use steps at all?


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   ·1· · · · A.· · Very dangerous for me to use steps.
   ·2· · · · Q.· · So you avoid steps as much as you can;                              13:18
   ·3· ·correct?
   ·4· · · · A.· · Correct.
   ·5· · · · Q.· · In fact, you never use steps; correct?
   ·6· · · · MR. HASHEMI:· Objection, argumentative.
   ·7· · · · THE WITNESS:· There are times when I've had to use
   ·8· ·steps, yes.
   ·9· · · · Q.· · BY MR. SAHELIAN:· What would be the
   10· ·circumstance under which you would elect to use a step?
   11· · · · MR. HASHEMI:· Objection, argumentative.· Overbroad.
   12· · · · · · · Go ahead.                                                           13:19
   13· · · · THE WITNESS:· Well, if I'm going somewhere and
   14· ·there's not an elevator, I guess I'd have to use steps,
   15· ·but I try not to go places that don't have an elevator,
   16· ·that just have steps.
   17· · · · Q.· · BY MR. SAHELIAN:· What about a single step to
   18· ·go from --?· Strike that.
   19· · · · · · · If you have to step up onto a sidewalk from
   20· ·the asphalt in a parking lot, what do you do?
   21· · · · A.· · I lift my front wheels up, and then I push my
   22· ·back wheels up, and I make sure I'm steady when I do
   23· ·that.
   24· · · · Q.· · The front wheels of what, sir?
   25· · · · A.· · Of my walker.


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   ·1· · · · Q.· · I see.· So you avoid stepping up onto the                           13:20
   ·2· ·sidewalk; is that correct?
   ·3· · · · A.· · Yes.
   ·4· · · · Q.· · And what would happen if you actually did try
   ·5· ·to step up on the sidewalk without the use of a walker?
   ·6· · · · A.· · Oh, I -- I could fall very easily, and I
   ·7· ·couldn't get up.                                                               13:20
   ·8· · · · Q.· · What about if you had a cane with you?
   ·9· · · · A.· · That would help steady me.· But it's taking a
   10· ·risk.
   11· · · · Q.· · Am I to understand that the risks to you of
   12· ·stepping up onto a sidewalk are so great that you avoid                        13:21
   13· ·it at all cost?
   14· · · · A.· · Not at all cost, but I try to take a ramp or
   15· ·some other way that's avoiding steps.
   16· · · · Q.· · What about stepping down from the sidewalk
   17· ·onto a parking lot?· Are you able to do that without a
   18· ·walker?
   19· · · · A.· · If it's a good day, yes, with a cane.· If it's                      13:22
   20· ·a bad day, no, I couldn't.· Got to be real carefully.          I
   21· ·would lose my balance.
   22· · · · Q.· · So you -- I'm sorry.
   23· · · · A.· · I lose my balance.· I lose my balance real
   24· ·easy.· I have to be careful.
   25· · · · Q.· · Okay.· Now in the past year, how many times


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   ·1· ·have you fallen and gone to the hospital?                                      13:22
   ·2· · · · A.· · Three -- three or four times.
   ·3· · · · Q.· · All right.· Do you have the records?
   ·4· · · · A.· · No.
   ·5· · · · Q.· · All right.· So in the past year, so that would
   ·6· ·be in the past 12 months, you testified just now that
   ·7· ·you've fallen and gone to the hospital as a result four                        13:22
   ·8· ·times; --
   ·9· · · · A.· · Three or four.
   10· · · · Q.· · -- is that right?
   11· · · · A.· · Yeah, three or four times.· Here's -- here's
   12· ·my last fall (indicating).· And my knee, I have
   13· ·(simultaneous dialog).
   14· · · · MR. SAHELIAN:· All right.· The record should show
   15· ·that Mr. Shayler was demonstrating a wound on his elbow.
   16· · · · Q.· · So, Mr. Shayler, you might want to give me a                        13:23
   17· ·chance to finish a statement so the court reporter does
   18· ·not have to figure out what it is you are saying.
   19· · · · A.· · Okay.
   20· · · · Q.· · So in the past 12 months, you've fallen four
   21· ·times and gone to the hospital as a result.                                    13:23
   22· · · · · · · Would you tell me the first time --?· What I
   23· ·meant was could you tell me about the first time where
   24· ·you were when you fell?
   25· · · · A.· · There were steps.· There were steps going down


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   ·1· ·to my car, and I took the steps, and I fell like three                         13:24
   ·2· ·steps down on the asphalt.
   ·3· · · · Q.· · Where were you at the time?
   ·4· · · · A.· · At my condominium.
   ·5· · · · Q.· · Did you call 911?
   ·6· · · · A.· · No.
   ·7· · · · Q.· · Did you drive yourself to the hospital?
   ·8· · · · A.· · Eventually, yes.                                                    13:25
   ·9· · · · Q.· · Was it that day?
   10· · · · A.· · No.
   11· · · · Q.· · When?
   12· · · · A.· · About two or three days later, I was still in
   13· ·pain, and I thought I may have bruise a rib or something
   14· ·in my chest so I went to the hospital.
   15· · · · Q.· · Forgive me for misunderstanding you if I did.
   16· ·Did you not testify that at your place of residence you                        13:25
   17· ·had no need to negotiate steps to get to your car?
   18· · · · A.· · There's two ways.· You can take steps or you
   19· ·can take the elevator.· And after that fall, I've always
   20· ·taken the elevator.
   21· · · · Q.· · So if I'm to understand your testimony, you                         13:25
   22· ·avoid stairs because of that fall that occurred less than
   23· ·a year ago; is that correct?
   24· · · · A.· · That's correct.
   25· · · · Q.· · All right.· Now tell me where you were located


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   ·1· ·when you fell the next time after that.                                        13:26
   ·2· · · · A.· · In my apartment.· Or in my condominium.
   ·3· · · · Q.· · Okay.· How did you fall?
   ·4· · · · A.· · My leg just gave out and I fell, and I
   ·5· ·couldn't get up.· I had to call 911.· I had to call
   ·6· ·security and then 911.                                                         13:26
   ·7· · · · Q.· · Did you see a doctor?
   ·8· · · · A.· · Yes.
   ·9· · · · Q.· · Did he make a recommendation?                                       13:27
   10· · · · A.· · Yes, the doctors made a recommendation.
   11· · · · Q.· · What was his recommendation relative --
   12· · · · A.· · That I -- that I continue using the walker and
   13· ·be very careful.
   14· · · · Q.· · And have you followed his recommendation?· His
   15· ·or her, I should say.
   16· · · · A.· · Yes.
   17· · · · Q.· · Tell me about the third fall.· Where were you?
   18· ·That's the -- excuse me, that's the third fall within a                        13:27
   19· ·year.
   20· · · · A.· · Yeah, that would be in my apartment again.
   21· · · · Q.· · How did it happen?
   22· · · · A.· · My leg just gave out.· My left leg just -- or
   23· ·my right leg gave out that time, just gave out, and I
   24· ·fell.· And I think I called security, and they came up                         13:28
   25· ·and helped me get up.


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   ·1· · · · Q.· · Did you go to the hospital?
   ·2· · · · A.· · Yes.
   ·3· · · · Q.· · How many days later?
   ·4· · · · A.· · That day I went, drove myself.
   ·5· · · · Q.· · Did you see a doctor?
   ·6· · · · A.· · Yes.
   ·7· · · · Q.· · What did he or she say?                                             13:29
   ·8· · · · A.· · That I really need to be careful.· I had to
   ·9· ·have stitches on my forehead.· Staples.
   10· · · · Q.· · All right.· I'm sorry to hear that,
   11· ·Mr. Shayler.
   12· · · · A.· · Yeah.
   13· · · · Q.· · Tell me about your last fall.· I'm assuming                         13:29
   14· ·there's one more in the past 12 months; correct?
   15· · · · A.· · Yeah, it was over the weekend at my brother's
   16· ·house.
   17· · · · Q.· · Tell me what happened.
   18· · · · A.· · I was getting my walker out of my car, and
   19· ·there was a curb, and I didn't -- I didn't -- I tripped                        13:29
   20· ·on the curb, and I fell.
   21· · · · Q.· · Did someone take you to the hospital?
   22· · · · A.· · I didn't go to the hospital on that time.· No.
   23· ·My brother was there.
   24· · · · Q.· · All right.· Given you've had these unfortunate                      13:30
   25· ·incidents, Mr. Shayler, and I'm sure very painful and


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   ·1· ·frustrating, have you committed to possibly using a
   ·2· ·wheelchair to avoid these falls?
   ·3· · · · A.· · I talked to a doctor about that, and he
   ·4· ·suggests that I keep using the walker.· He was afraid
   ·5· ·that a wheelchair would leave me less mobility and would                       13:30
   ·6· ·make my legs weaker.
   ·7· · · · Q.· · With respect to walking, using a walker, today
   ·8· ·if you were to use a walker, how steady would you feel on
   ·9· ·your feet?
   10· · · · A.· · Today's a fairly good day.· Don't feel uneasy                       13:31
   11· ·on my feet, but I still use a walker.
   12· · · · Q.· · Mr. Shayler, I want you to know that we can
   13· ·take as many breaks as you need.· If you need to use the
   14· ·restroom, by all means, please let me know.· If you need
   15· ·a mental break, by all means, please let me know.                              13:31
   16· · · · A.· · Okay.
   17· · · · Q.· · Is that a deal?
   18· · · · A.· · Yeah.
   19· · · · Q.· · All right.· Having said that, I'm going to
   20· ·take a five-minute break if that's okay with you.
   21· · · · A.· · Yeah.· Yeah, sure it is.
   22· · · · MR. HASHEMI:· I won't object.
   23· · · · MR. SAHELIAN:· All right.
   24· · · · · · · (Recess.)
   25· · · · Q.· · BY MR. SAHELIAN:· How are you feeling?· Okay?                       13:32


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   ·1· · · · A.· · Yeah.
   ·2· · · · Q.· · All right.· Back on the record.· Mr. Shayler,
   ·3· ·you testified that you had fallen once or more in your
   ·4· ·condominium in the past 12 months.· Is that correct?                           13:40
   ·5· · · · MR. HASHEMI:· Misstates prior testimony.
   ·6· · · · · · · Go ahead, Mr. Shayler.
   ·7· · · · THE WITNESS:· Yes.
   ·8· · · · Q.· · BY MR. SAHELIAN:· Was it once or twice in the
   ·9· ·past 12 months?
   10· · · · A.· · Twice.
   11· · · · Q.· · So when you fell the first time, did you fall
   12· ·entirely on the floor?                                                         13:40
   13· · · · A.· · Yes.
   14· · · · Q.· · Describe for me if you would what sort of
   15· ·floor covering you have throughout the house, starting
   16· ·with the bedrooms to the bathrooms and kitchen.
   17· · · · A.· · My whole floor's a wooden floor or vinyl
   18· ·floor.· There is a couple places where there's carpet,                         13:41
   19· ·rugs.· But it's all wooden floor.
   20· · · · Q.· · And when you say there's carpet rugs, where
   21· ·are these carpet rugs located?
   22· · · · A.· · In the living room and in the bedroom.
   23· · · · Q.· · Describe the rugs in the bedroom.
   24· · · · A.· · Just a -- an Oriental rug, probably six-by-                         13:41
   25· ·nine, and it's on the end of my bed.


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   ·1· · · · Q.· · Is it a Persian rug?· I don't want to get your
   ·2· ·attorney excited here.
   ·3· · · · MR. HASHEMI:· (Laughter.)
   ·4· · · · THE WITNESS:· No, it's a machine-made rug.· It's not
   ·5· ·hand-knotted.· I wish it was.
   ·6· · · · Q.· · BY MR. SAHELIAN:· All right.· What about the
   ·7· ·carpet in the living room?                                                     13:42
   ·8· · · · A.· · Same thing, a little -- it's the same type of
   ·9· ·rug, Oriental rug or Persian-style rug, and it's machine
   10· ·made.
   11· · · · Q.· · What are the dimensions of it?
   12· · · · A.· · Probably six-by-nine, something like that.
   13· · · · Q.· · And the rest of your condominium is, if I have                      13:42
   14· ·it right, covered with wood?
   15· · · · A.· · Yeah.
   16· · · · Q.· · And linoleum?
   17· · · · A.· · And linoleum, yeah.· Bathroom and the kitchen
   18· ·are linoleum, and the rest is wood.
   19· · · · Q.· · Do you have any steps ups --?· Strike that.
   20· · · · · · · Do you have any locations in your condominium
   21· ·inside your condominium where you have to step up or step
   22· ·down to get into a room?                                                       13:43
   23· · · · A.· · No.
   24· · · · Q.· · Are the transitions from one room to the other
   25· ·smooth?


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   ·1· · · · A.· · Yes.
   ·2· · · · Q.· · So when you fell the first time, did you fall
   ·3· ·on the carpet, the wood, or the linoleum?
   ·4· · · · A.· · I believe the carpet and the wood.· That's in                       13:44
   ·5· ·the front living room.
   ·6· · · · Q.· · And did your foot get caught on anything?
   ·7· · · · A.· · No.· My leg just gave out.
   ·8· · · · Q.· · And the second time you fell, what did you
   ·9· ·fall on?
   10· · · · A.· · The wooden floor, and I bumped my head and had                      13:44
   11· ·to have eight staples in my -- my top of my head.· On the
   12· ·side.
   13· · · · Q.· · So that one was a headache, huh, Mr. Shayler?
   14· · · · A.· · Yeah.· I didn't know how it happened.· But,
   15· ·yes, it did, yeah.
   16· · · · Q.· · I'm sorry to hear that.· Have you thought of                        13:44
   17· ·replacing your entire condominium with carpeting so you
   18· ·wouldn't take such a hard fall?
   19· · · · A.· · No.· Actually, the wood is easier for me to
   20· ·get around with the wood.· It goes a little bit easier
   21· ·with the walker and everything.· No, I'm going to keep
   22· ·it.                                                                            13:45
   23· · · · Q.· · Can you contemplate a time, Mr. Shayler,
   24· ·where -- I should say when you would simply for the sake
   25· ·of safety use a wheelchair?


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   ·1· · · · A.· · Well, I think maybe when I get older I may
   ·2· ·have to use a wheelchair.· I'm not sure yet, you know,                         13:45
   ·3· ·what -- what's going to happen.
   ·4· · · · Q.· · How certain are you of not falling when you
   ·5· ·use a walker?· And I'm essentially limiting my question
   ·6· ·to inside your condominium.                                                    13:46
   ·7· · · · A.· · If I'm using my walker, I -- I'm steady, and I
   ·8· ·know that if my leg gives out, I'm able to keep my --
   ·9· ·standing up.· So as long as I use a walker, I'm fine.
   10· · · · Q.· · Is that because if one leg gives out, at least
   11· ·your other leg supports you while your arms give you
   12· ·balance?· Is that the reason?
   13· · · · A.· · Yes.· Uh-huh.
   14· · · · Q.· · And the same question with your cane, how                           13:46
   15· ·certain are you inside your house of not falling if
   16· ·you're using a cane?
   17· · · · A.· · Well, the cane's usually for balance, gives me
   18· ·more -- a little support and balance when I'm -- when I'm
   19· ·standing and, you know, and walking.· But it's not -- you
   20· ·know, if my leg gives out, I'm not sure a cane would --                        13:47
   21· ·would hold me.· I'm just not sure.
   22· · · · Q.· · Now I know this could be difficult to answer
   23· ·but on a day -- on any given day when you wake up, are
   24· ·you able to predict whether one or the other leg is going
   25· ·to give out on you that day?


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   ·1· · · · A.· · Well, when I -- I get up and before I get up,                       13:48
   ·2· ·I have the walker right by my bed, and I usually grasp it
   ·3· ·and support myself and see how my legs are doing.· Yes.
   ·4· ·And if they feel like they are wobbly or unsure, then I
   ·5· ·continue using the walker that day.
   ·6· · · · Q.· · And what do you do if you have to leave the
   ·7· ·house and go somewhere?                                                        13:48
   ·8· · · · A.· · If it's a bad day, I won't leave the house.
   ·9· ·I'll be sedentary, and I'll make -- change plans.
   10· ·Whatever I'm going to do, I change plans.
   11· · · · Q.· · So you're pretty careful nowadays avoiding a
   12· ·fall by not leaving your condo if you're not feeling that                      13:48
   13· ·well?
   14· · · · A.· · Yeah.· Yes, that's correct.
   15· · · · Q.· · So you'll only leave the house -- when I say
   16· ·"the house" it's obviously your condo -- when you're
   17· ·relatively sure that if you're using a walker, you're not
   18· ·going to fall; correct?                                                        13:49
   19· · · · A.· · Yes.
   20· · · · Q.· · Now insofar as mobility in your legs, and my
   21· ·question's limited to your right leg, are you able to
   22· ·lift your foot off the ground if you're standing?                              13:49
   23· · · · A.· · My right leg?
   24· · · · Q.· · Correct.
   25· · · · A.· · Not without using a walker, I wouldn't --


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   ·1· ·couldn't do that.
   ·2· · · · Q.· · Not at all?
   ·3· · · · MR. HASHEMI:· Objection, asked and answered,
   ·4· ·argumentative.
   ·5· · · · · · · Go ahead, Mr. Shayler.
   ·6· · · · THE WITNESS:· I'm not sure.                                               13:50
   ·7· · · · Q.· · BY MR. SAHELIAN:· If you were to decide --.
   ·8· ·Well, strike that.
   ·9· · · · · · · As we sit here today, if you were to stand up,
   10· ·would you be able to lift one leg if you were holding
   11· ·onto a cane?
   12· · · · MR. HASHEMI:· Objection, incomplete hypothetical,
   13· ·not supported by admissible facts, calls for speculation.                      13:50
   14· · · · · · · Go ahead, Mr. Shayler.
   15· · · · THE WITNESS:· If it's a good day, I might be able
   16· ·to.
   17· · · · Q.· · BY MR. SAHELIAN:· What about a walker?
   18· · · · A.· · With a walker I could.
   19· · · · Q.· · How high up would you be able to lift your
   20· ·right leg using a walker --
   21· · · · MR. HASHEMI:· Object --
   22· · · · Q.· · BY MR. SAHELIAN:· -- to support yourself?
   23· · · · MR. HASHEMI:· Apologies.· Same objection.
   24· · · · · · · Go ahead, Mr. Shayler.
   25· · · · THE WITNESS:· Maybe a couple feet.


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   ·1· · · · Q.· · BY MR. SAHELIAN:· All right.· Same question
   ·2· ·with your left leg.
   ·3· · · · A.· · Same answer, I could with a walker.· With a
   ·4· ·cane, I'd have to be very careful, yeah.
   ·5· · · · MR. HASHEMI:· Same set of objections as with the
   ·6· ·last question.
   ·7· · · · Q.· · BY MR. SAHELIAN:· When was the last time that                       13:51
   ·8· ·you left your condominium, drove someplace, and walked
   ·9· ·without a cane or a walker?
   10· · · · MR. HASHEMI:· Objection, compound, calls for
   11· ·speculation.
   12· · · · THE WITNESS:· I'm not sure.· I'm not sure.· I'm not                       13:52
   13· ·sure.· I have lately.
   14· · · · Q.· · BY MR. SAHELIAN:· Perhaps let's limit the
   15· ·question to the past three months.· Have you in the past
   16· ·three months left the house, gone anywhere, and walked                         13:52
   17· ·without a cane?
   18· · · · A.· · Yes.
   19· · · · Q.· · Where would that be?
   20· · · · A.· · I went to the market at Ralphs and used their
   21· ·basket like a walker and was able to steady myself short
   22· ·periods of time and able to get some food and checking                         13:53
   23· ·out, as long as I used a basket.
   24· · · · Q.· · How did you get from the car to the basket
   25· ·without --?· Well, I'll just limit my question to:· How


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   ·1· ·did you get from the car to the basket?
   ·2· · · · A.· · The baskets -- I parked in the disability
   ·3· ·spot, and the baskets were right there, so I only had to
   ·4· ·walk ten feet to the -- to get the basket.                                     13:53
   ·5· · · · Q.· · All right.· Other than your trip to Ralphs,
   ·6· ·any other places that you've visited in the past three
   ·7· ·months during which you've walked without either a walker
   ·8· ·or a cane?
   ·9· · · · A.· · Because of these falls, I don't think I have.                       13:54
   10· ·I just don't remember if I have.
   11· · · · Q.· · All right.· With respect to your ankles, if
   12· ·you were for instance on a recliner with your feet up,
   13· ·would you be able to move your ankles in every direction?                      13:55
   14· ·And I'll start with the right ankle.
   15· · · · MR. HASHEMI:· Objection, compound, incomplete
   16· ·hypothetical, not supported by admissible facts, and
   17· ·calls for speculation and expert testimony.
   18· · · · · · · You can answer, Mr. Shayler.
   19· · · · THE WITNESS:· Yes, I could.
   20· · · · Q.· · BY MR. SAHELIAN:· In every direction; correct?
   21· · · · A.· · I believe so, yes.
   22· · · · Q.· · Which would also mean you would be able to
   23· ·lift your foot up; correct?                                                    13:55
   24· · · · A.· · Uh-huh.
   25· · · · MR. HASHEMI:· Same set of objections.


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   ·1· · · · Q.· · BY MR. SAHELIAN:· That was a yes; correct?
   ·2· · · · A.· · Yes.
   ·3· · · · Q.· · Just so you know, Mr. Shayler, the court
   ·4· ·reporter gives me dirty looks if you say uh-huh.
   ·5· · · · A.· · Oh.
   ·6· · · · Q.· · She likes yes or no.
   ·7· · · · A.· · Okay.
   ·8· · · · Q.· · And, you know, she's very intimidating.· I've
   ·9· ·only known her for 20 years, and she intimidates the heck                      13:55
   10· ·out of me, so I have to be careful.
   11· · · · A.· · (Laughter.)
   12· · · · MR. HASHEMI:· (Laughter.)
   13· · · · Q.· · BY MR. SAHELIAN:· All right.· Same question
   14· ·with the left foot.
   15· · · · A.· · And what was the question?
   16· · · · Q.· · Are you able to rotate your ankle in every
   17· ·direction if you're sitting in a recliner with your feet
   18· ·up?                                                                            13:56
   19· · · · A.· · Yes, I could.
   20· · · · MR. HASHEMI:· Same set of objections I interposed to
   21· ·that last question too.
   22· · · · Q.· · BY MR. SAHELIAN:· So when you're walking,
   23· ·Mr. Shayler, are you able to lift your feet up on the --
   24· ·off the ground a certain distance?· That's without using                       13:56
   25· ·a walker or a cane.


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   ·1· · · · MR. HASHEMI:· Same set of objections previously
   ·2· ·interposed to this line.
   ·3· · · · · · · But you can answer the question if you think
   ·4· ·you understand it.
   ·5· · · · THE WITNESS:· I think I could.· If it's a good day,
   ·6· ·I could.
   ·7· · · · Q.· · BY MR. SAHELIAN:· All right.· Now if it's a                         13:57
   ·8· ·bad day, you avoid walking without a cane or a walker;
   ·9· ·correct?
   10· · · · A.· · Yes, if it's a bad day, then I would use a
   11· ·walker.· Help support myself.
   12· · · · Q.· · So when you do use a walker and it is a bad
   13· ·day and you're walking perhaps across a parking lot, are
   14· ·you able to raise your feet as you're walking?                                 13:57
   15· · · · MR. HASHEMI:· Same set of objections with respect to
   16· ·the previous set of questions that were presented.
   17· · · · · · · You can answer the question.
   18· · · · THE WITNESS:· If it's a good day, yes.
   19· · · · Q.· · BY MR. SAHELIAN:· And so what if it's a bad
   20· ·day?
   21· · · · A.· · Then I'd have to use my walker, and I'd be
   22· ·careful lifting my legs up.· I can lift it up as long as
   23· ·I'm supporting my balance with the walker.                                     13:58
   24· · · · Q.· · So if you are using a walker and if it is a
   25· ·bad day, Mr. Shayler, and you're walking across a parking


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   ·1· ·lot, you are able to lift your foot in order to be able
   ·2· ·to advance forward; is that correct?
   ·3· · · · MR. HASHEMI:· Objection, leading, argumentative,
   ·4· ·lacks foundation, compound, calls for speculation, and
   ·5· ·incomplete hypothetical, not supported by admissible                           13:59
   ·6· ·facts.
   ·7· · · · · · · Mr. Shayler, go ahead.
   ·8· · · · THE WITNESS:· If it's a good day, I -- I may be able
   ·9· ·to -- to do that.· Yes, I would be able to do that if
   10· ·it's a good day.· If it's a bad day, I would stay home.
   11· ·I wouldn't be going out.
   12· · · · MR. SAHELIAN:· Mr. Hashemi, I've got a great idea
   13· ·for you.· We're going to take your objections and we're                        13:59
   14· ·going to create three different packages.· We call it
   15· ·Package 1, Package 2 and 3.· That way you don't have to
   16· ·get tired.· You just say Package 1.
   17· · · · MR. HASHEMI:· Can I hold up Ping-Pong paddles?· It
   18· ·would be like 1, 2, 3?
   19· · · · MR. SAHELIAN:· You know what?· That would be
   20· ·fabulous.· (Laughter.)
   21· · · · MR. HASHEMI:· (Laughter.)· But Madam Court Reporter
   22· ·would not like that because that's not audible.
   23· · · · Q.· · BY MR. SAHELIAN:· All right.· Now tell me what                      13:59
   24· ·city you live in, Mr. Shayler.
   25· · · · A.· · Culver City.


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   ·1· · · · Q.· · How long have you lived there?
   ·2· · · · A.· · About five years.                                                   14:00
   ·3· · · · Q.· · Are you currently employed?
   ·4· · · · A.· · No.
   ·5· · · · Q.· · What was your last employment?
   ·6· · · · A.· · Last employment was with Sysco.· I was a --
   ·7· ·with Sysco.
   ·8· · · · Q.· · Now if I understand correctly, Sysco makes                          14:01
   ·9· ·networking products; is that correct?
   10· · · · A.· · It's -- Sysco is a -- is a company that does
   11· ·people's disability.· They determine if they are
   12· ·disabled.· Yeah.
   13· · · · Q.· · I see.
   14· · · · A.· · Yeah, it's a different type of Sysco.· Yeah.
   15· · · · Q.· · I see.· Okay.· And I believe at one time you                        14:01
   16· ·were a paralegal; is that correct?
   17· · · · A.· · Yeah, for about --.· Yes.
   18· · · · Q.· · For what period of time were you a paralegal?                       14:01
   19· · · · A.· · Roughly about 15 years.
   20· · · · Q.· · Were you independent?
   21· · · · A.· · No.
   22· · · · Q.· · Who were you employed by?
   23· · · · A.· · Disability Group and Health Advocates.
   24· · · · Q.· · These are two law firms?
   25· · · · A.· · Yes.


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   ·1· · · · Q.· · Did you help at the time other disabled                             14:02
   ·2· ·persons file ADA lawsuits?
   ·3· · · · MR. HASHEMI:· Objection, vague.
   ·4· · · · · · · Go ahead.
   ·5· · · · THE WITNESS:· No.
   ·6· · · · Q.· · BY MR. SAHELIAN:· Now when you're walking
   ·7· ·across a parking lot and you see cracks in the asphalt,                        14:02
   ·8· ·what do you do?
   ·9· · · · MR. HASHEMI:· Objection, vague.
   10· · · · THE WITNESS:· I try to go around the cracks, yeah,
   11· ·that causes a problem, uneven.
   12· · · · Q.· · BY MR. SAHELIAN:· So if there's a way to go                         14:03
   13· ·around the crack, you do it; correct?
   14· · · · A.· · Yes.
   15· · · · Q.· · And if you see a little ramp or any ramp that                       14:03
   16· ·you need to use to get from the parking lot onto a
   17· ·sidewalk, what do you do?
   18· · · · MR. HASHEMI:· Objection, vague, calls for
   19· ·speculation, incomplete hypothetical.
   20· · · · THE WITNESS:· I have to use -- I use that ramp.
   21· · · · Q.· · BY MR. SAHELIAN:· Describe for me how you use
   22· ·a ramp using a walker.
   23· · · · MR. HASHEMI:· Objection, vague, lacks foundation.                         14:04
   24· · · · · · · Go ahead.
   25· · · · THE WITNESS:· State the question again?


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   ·1· · · · Q.· · BY MR. SAHELIAN:· Sure.· If you're walking
   ·2· ·using a walker and you see a ramp and you want to use the
   ·3· ·ramp to get up to the sidewalk level, how do you do it?
   ·4· · · · A.· · I go up and if it -- if it's deeper than it                         14:04
   ·5· ·should be, then it gives me -- it makes it difficult for
   ·6· ·me.· But I have -- I use -- I have to use a ramp so...
   ·7· · · · Q.· · So you're familiar with the ADA guidelines;
   ·8· ·correct?
   ·9· · · · A.· · Yes.
   10· · · · Q.· · You oftentimes take your own measurements;                          14:05
   11· ·correct?
   12· · · · MR. HASHEMI:· Objection, vague.
   13· · · · THE WITNESS:· Yes.
   14· · · · Q.· · BY MR. SAHELIAN:· Do you know what the maximum
   15· ·allowable slope on a ramp is under the ADA guidelines?
   16· · · · A.· · Believe shouldn't be more than two inches,                          14:05
   17· ·something like that.· I don't know exactly.· I believe
   18· ·two inches.
   19· · · · Q.· · Two inches for how many feet?
   20· · · · A.· · I'm not sure.
   21· · · · Q.· · What about percentage-wise?· Can you tell me
   22· ·what the allowable slope is on a ramp under the Americans
   23· ·with Disabilities architectural guidelines?
   24· · · · MR. HASHEMI:· Objection, calls for expert testimony.                      14:06
   25· · · · THE WITNESS:· No, I couldn't tell you.


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   ·1· · · · Q.· · BY MR. SAHELIAN:· So what is the maximum slope
   ·2· ·percentage-wise that you can go up on?
   ·3· · · · A.· · What is the maximum percentage?
   ·4· · · · MR. SAHELIAN:· I'm going to have the court reporter
   ·5· ·read my question.
   ·6· · · · THE WITNESS:· Uh-huh.                                                     14:07
   ·7· · · · · · · (The record was read as follows:
   ·8· · · · · · · · "So what is the maximum slope                                     14:06
   ·9· · · · · · percentage-wise that you can go up on?")
   10· · · · MR. HASHEMI:· Objection, calls for speculation,                           14:07
   11· ·compound, and vague.
   12· · · · THE WITNESS:· I mean, if I -- if I have to use a
   13· ·ramp, I'll have to go up, no matter whatever degree it
   14· ·is, I have to go up there.
   15· · · · Q.· · BY MR. SAHELIAN:· That doesn't answer my                            14:07
   16· ·question, Mr. Shayler.· Would you like me to have the
   17· ·court reporter reread my question?
   18· · · · A.· · The only other answer I can give you is I'm
   19· ·not sure.
   20· · · · Q.· · Same question with the same ramp going down.                        14:07
   21· · · · A.· · Again, I use the ramp, so whatever degree it
   22· ·is, I have to use that ramp.
   23· · · · Q.· · How do you know when a ramp exceeds the slope
   24· ·requirements of the Americans with Disabilities Act
   25· ·architectural guidelines?                                                      14:08


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   ·1· · · · A.· · If I feel that it's over, then I take
   ·2· ·measurements and -- I take measurements.· If it's over
   ·3· ·two, then -- two to three inches, then I may take some
   ·4· ·pictures.                                                                      14:08
   ·5· · · · MR. SAHELIAN:· Madam Court Reporter, could you
   ·6· ·please read my question and his answer.                                        14:09
   ·7· · · · · · · (The record was read as follows:
   ·8· · · · · · · · "How do you know when a ramp exceeds the                          14:08
   ·9· · · · · · slope requirements of the Americans with
   10· · · · · · Disabilities Act architectural guidelines?                            14:08
   11· · · · · · · · "Answer.· If I feel that it's over, then I
   12· · · · · · take measurements and -- I take measurements.
   13· · · · · · If it's over two, then -- two to three inches,
   14· · · · · · then I may take some pictures.")
   15· · · · Q.· · BY MR. SAHELIAN:· All right.· So you said, "If                      14:09
   16· ·I feel that it's over," what does that mean, if you feel
   17· ·that it's over?
   18· · · · A.· · Well, if it's caused me frustrations or
   19· ·anxiety and I can tell that it seems a little steep, then
   20· ·I may take measurements.                                                       14:09
   21· · · · Q.· · Now would it be fair to say that you've filed
   22· ·over 300 lawsuits?
   23· · · · MR. HASHEMI:· Objection, lacks foundation, leading.
   24· · · · · · · Go ahead.
   25· · · · THE WITNESS:· I'm not sure how many I filed.


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   ·1· · · · Q.· · BY MR. SAHELIAN:· Would it be over 100?
   ·2· · · · MR. HASHEMI:· Objection, asked and answered.
   ·3· · · · · · · Go ahead.
   ·4· · · · THE WITNESS:· Yes.
   ·5· · · · Q.· · BY MR. SAHELIAN:· Would it be over 200?
   ·6· · · · A.· · I'm not sure.                                                       14:10
   ·7· · · · Q.· · Who would know?
   ·8· · · · MR. HASHEMI:· Calls for speculation.
   ·9· · · · · · · Go ahead.
   10· · · · THE WITNESS:· I guess my attorneys may know.
   11· · · · Q.· · BY MR. SAHELIAN:· All right.· Who are your
   12· ·attorneys?
   13· · · · A.· · Mr. Manning, Joe Manning.
   14· · · · Q.· · Do you have any other attorneys?                                    14:10
   15· · · · A.· · No.
   16· · · · Q.· · Currently as we're sitting here, do you have
   17· ·any cases, ongoing cases with any attorneys other than
   18· ·the Manning Law Firm?
   19· · · · A.· · No.· Not that I'm aware of.
   20· · · · Q.· · Have you ever employed any other attorneys                          14:11
   21· ·other than the Manning firm?
   22· · · · A.· · Yes.
   23· · · · Q.· · Name them.
   24· · · · A.· · I'm not sure of their names.· I'm not sure of                       14:11
   25· ·the name on the law firm.


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   ·1· · · · Q.· · Does the name Hakimi refresh your memory?
   ·2· · · · A.· · Yeah.· Yeah.· I believe that was -- that's
   ·3· ·them.
   ·4· · · · Q.· · Any others?
   ·5· · · · A.· · Not that I'm aware of, no.
   ·6· · · · Q.· · Do you currently have a case or more than one
   ·7· ·case with the Hakimi firm?· That's Hakimi & Shahriari?                         14:12
   ·8· · · · A.· · I don't believe so.
   ·9· · · · Q.· · When was the last time you communicated with
   10· ·them?
   11· · · · A.· · Maybe three or four months ago.
   12· · · · Q.· · You don't have to tell me the substance of the                      14:12
   13· ·communication but was it in reference to a case?
   14· · · · A.· · Yes, it was.
   15· · · · Q.· · Is that case terminated?
   16· ·**· ·MR. HASHEMI:· Objection.· I'm going to instruct him
   17· ·not to answer that question.· I think now we're getting
   18· ·into the content and the description of the items that                         14:13
   19· ·were discussed.
   20· · · · MR. SAHELIAN:· Well, not really, Mr. Hashemi,
   21· ·because if a case is terminated, then it's public
   22· ·knowledge.· So he should know whether the case is
   23· ·terminated or not.
   24· · · · MR. HASHEMI:· Well, but I respectfully disagree
   25· ·because now you're asking about the content of that


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   ·1· ·discussion and --
   ·2· · · · MR. SAHELIAN:· Well --
   ·3· · · · MR. HASHEMI:· -- I have general questions that that
   ·4· ·leads -- that could be construed as a waiver of attorney-
   ·5· ·client privilege.· I apologize, but I'm going to have to                       14:13
   ·6· ·instruct him not to answer the question.
   ·7· · · · MR. SAHELIAN:· Well, first of all, it is not up to
   ·8· ·you to invoke that waiver because you're not the
   ·9· ·attorney.· You have no standing or no rights to invoke
   10· ·that attorney-client privilege.
   11· · · · · · · Number two, I'm not asking him anything that's
   12· ·not public information.· So I'll rephrase it again.
   13· · · · Q.· · BY MR. SAHELIAN:· Mr. Shayler, insofar as you
   14· ·know, are all the cases that you might have had with any                       14:14
   15· ·attorney other than the Manning firm closed, terminated,
   16· ·done with, call it what you want?
   17· · · · MR. HASHEMI:· Objection, compound, vague, and calls
   18· ·for speculation.
   19· · · · · · · Go ahead, Mr. Shayler.
   20· · · · THE WITNESS:· I believe so, yes.
   21· · · · Q.· · BY MR. SAHELIAN:· And what makes you think                          14:15
   22· ·that?
   23· · · · MR. HASHEMI:· Same objections.
   24· · · · THE WITNESS:· Because they -- because they told me.
   25· · · · Q.· · BY MR. SAHELIAN:· All right.· So let's take a


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   ·1· ·five-minute break, Mr. Shayler, because like you, I do                         14:15
   ·2· ·have physical limitations.· I sit in a wheelchair, so
   ·3· ·occasionally I need to stretch.· So five minutes,
   ·4· ·Mr. Hashemi?
   ·5· · · · MR. HASHEMI:· By all means.
   ·6· · · · MR. SAHELIAN:· Thank you.
   ·7· · · · MR. HASHEMI:· Thank you.· Off record.
   ·8· · · · · · · (Recess.)                                                           14:17
   ·9· · · · MR. SAHELIAN:· All right.· We're going to speed
   10· ·through the rest of the depo, Mr. Hashemi.· All right?
   11· ·Back on the record.
   12· · · · MR. HASHEMI:· Yes.
   13· · · · Q.· · BY MR. SAHELIAN:· All right.· I'm going to
   14· ·have my assistant Audrey pull up Medical Report Number 1.                      14:27
   15· ·And, Madam Court Reporter, what does she have to do?
   16· ·Just share her screen?
   17· · · · THE REPORTER:· Yes.
   18· · · · MR. SAHELIAN:· And click Number 1, Audrey.
   19· · · · · · · Madam Court Reporter, do we email these to you
   20· ·right now?· What's the proper way of doing this?
   21· · · · THE REPORTER:· Off the record?
   22· · · · MR. SAHELIAN:· Yes.
   23· · · · · · · (Discussion off the record.)
   24· · · · Q.· · BY MR. SAHELIAN:· All right, Mr. Shayler, can                       14:28
   25· ·you see this exhibit from the Beverly Hospital?


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   ·1· · · · A.· · Yes.
   ·2· · · · Q.· · We're going to mark this as Exhibit 2.
   ·3· ·Exhibit 1 is going to be the Notice of Deposition, which
   ·4· ·I believe our court reporter has received a copy.
   ·5· · · · · · · (Exhibits 1 and 2 were referenced.)
   ·6· · · · Q.· · BY MR. SAHELIAN:· Did anyone at the Beverly                         14:29
   ·7· ·Hospital examine you?
   ·8· · · · A.· · Oh, yeah.
   ·9· · · · MR. SAHELIAN:· All right.· I believe this one,
   10· ·Audrey, if you would scroll all the way to see who the
   11· ·physician is.· I can't quite tell, but this one looks as                       14:29
   12· ·if it was a report by Dr. Charles Ananian.
   13· · · · Q.· · Do you know him?
   14· · · · A.· · I don't know him, but I remember when he -- I
   15· ·asked him to fill this out, yeah.· I don't know him.          I                14:30
   16· ·remember this.
   17· · · · Q.· · All right.· Explain to me the reason why you
   18· ·went to see Dr. Ananian.
   19· · · · A.· · I just had -- I had some issues with my back.                       14:30
   20· · · · Q.· · Do you see the date on the document?
   21· · · · A.· · Yeah, 2/11 of 2020.
   22· · · · Q.· · Okay.· So you went to see him because you were
   23· ·having backaches?
   24· · · · A.· · Back spasms and, yeah, I was having some
   25· ·problems with my back, yeah.


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   ·1· · · · Q.· · What did he tell you to do or not to do?                            14:31
   ·2· · · · A.· · He told me that I had a pinched nerve my
   ·3· ·L4/L5, and he said that that's what's causing the
   ·4· ·neuropathy.· And he said that I should limit how long I
   ·5· ·sit and stand, and he gave me some limitations.· And that                      14:31
   ·6· ·it could get worse.
   ·7· · · · Q.· · What did he tell you about the use of a
   ·8· ·wheelchair, if any?
   ·9· · · · A.· · He didn't -- we never discussed using a
   10· ·wheelchair.
   11· · · · Q.· · What about the use of a walker or a cane?
   12· · · · A.· · I believe I was using a walker then, but he                         14:32
   13· ·told me -- we didn't discuss any of that.· Just he
   14· ·discussed my back and what was going on with it.
   15· · · · Q.· · Did he tell you to avoid walking without a
   16· ·walker?
   17· · · · A.· · No, he did not say to avoid walking without a
   18· ·walker.· I just -- he gave me some limitations and said
   19· ·that I was going to have to be careful not to lift                             14:32
   20· ·anything too heavy I believe he said and stuff like that.
   21· · · · Q.· · So with respect to the use of mobility aids
   22· ·when walking, have you told me everything he told you?
   23· · · · MR. HASHEMI:· Objection, calls for speculation.
   24· ·Compound.
   25· · · · THE WITNESS:· I'm not sure.


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   ·1· · · · MR. SAHELIAN:· That was a speaking objection,
   ·2· ·Mr. Hashemi.· You know how much I love you.· I don't want                      14:33
   ·3· ·to get upset.
   ·4· · · · MR. HASHEMI:· What part of it was speaking, counsel?
   ·5· · · · MR. SAHELIAN:· Because calls for speculation is your
   ·6· ·signal for your client to say he doesn't remember.· Let's
   ·7· ·avoid that.
   ·8· · · · MR. HASHEMI:· I don't -- I disagree with you if
   ·9· ·that's what you believe.· It does call for speculation
   10· ·because you're asking him to tell you if he's told you
   11· ·everything that was discussed between him and his doctor                       14:33
   12· ·on that day, and I wasn't there, so I would presume there
   13· ·was more than a couple sentences exchanged, but let's
   14· ·leave it at that.
   15· · · · Q.· · BY MR. SAHELIAN:· All right.· Do you remember                       14:34
   16· ·Dr. Ananian telling you to limit your walking without                          16:00
   17· ·cane or a walker?
   18· · · · A.· · No.
   19· · · · Q.· · Did you tell Dr. Ananian that your knees
   20· ·buckled and that you occasionally fell?
   21· · · · A.· · I don't think I discussed my knees with him.                        14:34
   22· ·I --.· It was -- mostly it was my back.
   23· · · · MR. SAHELIAN:· All right.· We're going to mark this
   24· ·as --.· Madam Court Reporter, are we marking it as
   25· ·Exhibit B or Exhibit 2?


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   ·1· · · · THE REPORTER:· Exhibit 2.
   ·2· · · · MR. SAHELIAN:· All right.· So we're marking this as
   ·3· ·Exhibit 2.· Let's move to Exhibit 3.                                           14:35
   ·4· · · · · · · (Exhibit 3 was referenced.)
   ·5· · · · Q.· · BY MR. SAHELIAN:· All right.· What we have
   ·6· ·here, Mr. Shayler, is a report from a Dr. John P-L-U-T.
   ·7· ·I don't know how to pronounce his last name.· And it's
   ·8· ·titled orthopedic follow-up, and I'm going to have my                          14:35
   ·9· ·assistant scroll down to the bottom.· There is no
   10· ·signature and insofar as I can tell, there is no date on
   11· ·this.· Unless I'm wrong.· Did you go see Dr. Plut?
   12· · · · A.· · I think it was Hopper, Dr. Hopper.
   13· · · · MR. SAHELIAN:· All right.· Audrey, would you scroll
   14· ·all the way up?· Yes, okay.                                                    14:36
   15· · · · THE WITNESS:· Oh, yes.· Yeah, Dr. Plut, yeah.
   16· ·Dr. Douglas referred me to him.
   17· · · · Q.· · BY MR. SAHELIAN:· All right.· What did you go
   18· ·see Dr. Plut for?
   19· · · · A.· · I -- I don't remember.
   20· · · · Q.· · All right.· What did he tell you to do or not
   21· ·to do?
   22· · · · A.· · I don't remember what we talked about.· That                        14:36
   23· ·was, you know, quite a long time ago, five or six -- a
   24· ·long time ago, five or six years ago, I'm not sure.
   25· · · · MR. SAHELIAN:· All right.· We're marking this as


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   ·1· ·Exhibit 3 if I'm correct.· Let's move to Exhibit 4.
   ·2· · · · · · · (Exhibit 4 was referenced.)
   ·3· · · · Q.· · BY MR. SAHELIAN:· Do you recall seeing a                            14:36
   ·4· ·Dr. McCloy?
   ·5· · · · A.· · Yeah.
   ·6· · · · Q.· · Let's scroll --
   ·7· · · · A.· · That is correct.
   ·8· · · · Q.· · Let's scroll down and see if there's a date on
   ·9· ·this document.· All right.· Doesn't seem to be a date at
   10· ·the bottom.
   11· · · · A.· · Yeah, it was -- yeah, there is a date.                              14:37
   12· · · · Q.· · There's a date up top of January 15, 2020.
   13· · · · A.· · Yes.
   14· · · · Q.· · Right?· What did you see Dr. McCloy for?
   15· · · · A.· · My primary care doctor.
   16· · · · Q.· · Did he tell you what to do or not to do
   17· ·relative to walking?
   18· · · · MR. HASHEMI:· Objection, vague.
   19· · · · THE WITNESS:· He -- he just -- we were -- I think                         14:37
   20· ·what we were discussing is the pain that, um, I was
   21· ·experiencing and gave me medication for it.
   22· · · · Q.· · BY MR. SAHELIAN:· Did you tell him about your
   23· ·knees buckling?
   24· · · · A.· · I may have, I'm not sure.
   25· · · · Q.· · Did he leave you with recommendations?


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   ·1· · · · A.· · Just to take Hydrocodone twice, I believe, you                      14:38
   ·2· ·know?· I'm not sure.· I believe I did tell him that my
   ·3· ·knees were buckling or would just -- would give out.                           14:38
   ·4· · · · Q.· · What is Hydrocodone?· Is that a painkiller?
   ·5· · · · A.· · Ox -- it oxycodone, yes.· Hydrocodone and
   ·6· ·oxycodone are both pain relievers, yeah.
   ·7· · · · Q.· · And did you follow his recommendation and
   ·8· ·administer yourself with the medication?
   ·9· · · · A.· · Yeah.· Uh-huh.
   10· · · · Q.· · How long did you take it?
   11· · · · A.· · Off and on for about four years.                                    14:39
   12· · · · MR. SAHELIAN:· All right.· And so we're marking this
   13· ·as Exhibit 4 if I'm correct.· Let's move to the next.
   14· ·All right.· We are back with Dr. McCloy, and this looks
   15· ·like a visit on March 2nd, 2020.· We're marking this as                        14:39
   16· ·Exhibit 5, if I'm correct.
   17· · · · · · · (Exhibit 5 was referenced.)
   18· · · · Q.· · BY MR. SAHELIAN:· Do you recall your visit?
   19· · · · A.· · Yeah.
   20· · · · Q.· · What did you see Dr. McCloy for in March of
   21· ·2020?
   22· · · · A.· · Just one of my many visits to him, and he -- I                      14:40
   23· ·had an infection in my foot.
   24· · · · Q.· · All right.· And did he tell you what to do or
   25· ·not to do as a result of this visit?


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   ·1· · · · A.· · To always wear slippers and don't walk around                       14:40
   ·2· ·barefooted.
   ·3· · · · Q.· · Did you tell him you were using a walker or a
   ·4· ·cane?
   ·5· · · · A.· · I believe so.
   ·6· · · · Q.· · Did you walk into his office with a walker or
   ·7· ·a cane?
   ·8· · · · A.· · I believe so.
   ·9· · · · Q.· · Which?                                                              14:41
   10· · · · A.· · One of the two.· I don't remember on this
   11· ·visit which I used.· I think I used a walker.
   12· · · · Q.· · Did you tell him that you're unable to walk on
   13· ·rough terrain?
   14· · · · A.· · Yes.
   15· · · · Q.· · Did you tell him you were unable to walk on
   16· ·slopes?                                                                        14:41
   17· · · · A.· · He told me to try to avoid slopes.
   18· · · · Q.· · Did he tell you to try and avoid rough
   19· ·terrain?
   20· · · · A.· · Yes.
   21· · · · Q.· · And so did you follow his advice?                                   14:42
   22· · · · A.· · I tried -- yes, I have.
   23· · · · Q.· · So as a result of his advice in March of 2020,
   24· ·you avoid slopes and you avoid rough terrain; is that
   25· ·correct?


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   ·1· · · · A.· · Yes.
   ·2· · · · Q.· · And as a result of his advice, you do not use
   ·3· ·steps; is that correct?
   ·4· · · · MR. HASHEMI:· Objection, argumentative.
   ·5· · · · · · · Go ahead.
   ·6· · · · THE WITNESS:· No, I just avoid steps since I fell.
   ·7· ·That's the reason I avoid steps.
   ·8· · · · Q.· · BY MR. SAHELIAN:· What did he tell you
   ·9· ·relative to steps?
   10· · · · A.· · He didn't say anything regarding the steps.
   11· · · · MR. SAHELIAN:· All right.· Let's move to Exhibit 6.
   12· ·That's another visit with Dr. McCloy in April of 2020.                         14:43
   13· · · · · · · (Exhibit 6 was referenced.)
   14· · · · Q.· · BY MR. SAHELIAN:· That's about a month later,
   15· ·and it says you had a deep hole in your right heel; is
   16· ·that correct?
   17· · · · A.· · Yes.
   18· · · · Q.· · And how did you have your heel treated?                             14:43
   19· · · · A.· · From a podiatrist.
   20· · · · Q.· · Okay.· What did they have to do to make sure
   21· ·your heel was cured?
   22· · · · A.· · I think they filed down a callous, and -- and
   23· ·that was it.· There was no sore underneath it.                                 14:44
   24· · · · Q.· · How long did it take to cure your heel?
   25· · · · A.· · Quite a long time.


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   ·1· · · · Q.· · And did you walk on it in the meantime?
   ·2· · · · A.· · While this was happening, I tried not to walk
   ·3· ·on my -- my bottom of my feet.· Tried to stay off them.                        14:44
   ·4· · · · Q.· · But you still walked on it; correct?
   ·5· · · · A.· · Yes.
   ·6· · · · Q.· · All right.· Let's move to Exhibit 7.· That's
   ·7· ·another visit to Dr. McCloy in May of 2020.
   ·8· · · · · · · (Exhibit 7 was referenced.)
   ·9· · · · Q.· · BY MR. SAHELIAN:· All right, for it says
   10· ·osteomyelitis.· Describe what that is for us, please.                          14:45
   11· · · · A.· · That's when -- that's when you have an
   12· ·infectious disease in -- in your foot.· And they gave me
   13· ·antibiotics.                                                                   14:46
   14· · · · Q.· · Did that go away?· Was it cured?
   15· · · · A.· · Almost lost --.· Yeah, it got cured.· Almost
   16· ·lost my leg.
   17· · · · MR. SAHELIAN:· All right, let's go to Exhibit 8.
   18· · · · · · · (Exhibit 8 was referenced.)
   19· · · · Q.· · BY MR. SAHELIAN:· All right.· You went to
   20· ·Dr. Su, that's S-U, for a foot infection it says.                              14:46
   21· · · · A.· · Uh-huh.
   22· · · · Q.· · And so why did you go to another doctor here
   23· ·instead of your last doctor?
   24· · · · A.· · Because he was trying to prevent me to having
   25· ·to amputate my leg.                                                            14:46


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   ·1· · · · Q.· · Did Dr. McCloy refer you to Dr. Su?
   ·2· · · · A.· · Yes, he did.
   ·3· · · · Q.· · And what did Dr. Su recommend in terms of
   ·4· ·treatment to prevent your leg from being amputated?                            14:47
   ·5· · · · A.· · I went -- I went to a -- an amputation prevent
   ·6· ·center in Beverly Hospital.· And then I saw Dr. Su a few
   ·7· ·times.
   ·8· · · · Q.· · Now in the meantime, were you able to walk on                       14:47
   ·9· ·your foot?
   10· · · · A.· · At that time I -- um, I was trying to stay off
   11· ·my right foot.
   12· · · · Q.· · What if you had to get out and walk and shop
   13· ·and (simultaneous dialog)?
   14· · · · A.· · If I had to do it, then I had to do it, but I
   15· ·was trying to stay off that foot.
   16· · · · Q.· · And were you using a mobility device to help                        14:48
   17· ·you?
   18· · · · A.· · Yes.
   19· · · · Q.· · All right.· Let's go to Exhibit 9.
   20· · · · · · · (Exhibit 9 was referenced.)
   21· · · · Q.· · BY MR. SAHELIAN:· This looks like you're back
   22· ·with Dr. McCloy here, and it looks as if you went to see
   23· ·him in July, and he's noting down progress.
   24· · · · A.· · Uh-huh.                                                             14:48
   25· · · · Q.· · And he says you're in a walking boot.· And the


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   ·1· ·hole in your heel has almost sealed over.· That's pretty
   ·2· ·good news; correct?
   ·3· · · · A.· · Yeah.
   ·4· · · · Q.· · And did your walking improve after that?
   ·5· · · · MR. HASHEMI:· Objection, vague.
   ·6· · · · Q.· · BY MR. SAHELIAN:· All right.· Were you able to
   ·7· ·walk easier after the -- your infection healed?                                14:49
   ·8· · · · A.· · Yeah, I guess I was able to walk a little bit
   ·9· ·better, yeah.
   10· · · · Q.· · All right.· At this time in July of 2020, did
   11· ·you have issues with your knees buckling?
   12· · · · A.· · Yes.
   13· · · · Q.· · Is there anywhere on any of these medical
   14· ·reports an indication that you communicated that to any
   15· ·of these physicians so far?                                                    14:49
   16· · · · A.· · I don't know if I did or did not.· I'm just
   17· ·not sure.
   18· · · · Q.· · Would that have been important to you at the
   19· ·time?
   20· · · · A.· · I don't think I was falling at that time but,
   21· ·yes, it would have been, yeah.
   22· · · · Q.· · All right.· Let's move to Exhibit 10.                               14:50
   23· · · · · · · (Exhibit 10 was referenced.)
   24· · · · Q.· · BY MR. SAHELIAN:· We're back with Dr. McCloy,
   25· ·and he says your heel is almost healed, and this is in


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   ·1· ·September of 2020.· And he also indicates you've been
   ·2· ·visiting Beverly Hospital.
   ·3· · · · A.· · Uh-huh.
   ·4· · · · Q.· · Where is Beverly Hospital located?                                  14:50
   ·5· · · · A.· · In Montebello.
   ·6· · · · Q.· · All right.· That's quite a drive for you from
   ·7· ·Culver City; correct?
   ·8· · · · A.· · Yes.
   ·9· · · · Q.· · Why did you go all the way over there?
   10· · · · A.· · Because they have a wound care center.· They
   11· ·have a great wound care center.                                                14:51
   12· · · · Q.· · All right.· And it seems as if they actually
   13· ·helped you cure your wound; is that correct?
   14· · · · A.· · Yeah.· Yes.
   15· · · · Q.· · You're happy with the work they did?
   16· · · · A.· · Yes.
   17· · · · Q.· · It was worth --?· Was it worth the drive all                        14:51
   18· ·the way over there?
   19· · · · A.· · Yeah, it was a long drive.· Yeah.
   20· · · · Q.· · All right.· While you were out there in
   21· ·Montebello, did you happen to stop at any businesses and
   22· ·find ADA violations?
   23· · · · MR. HASHEMI:· Objection, leading, argumentative,
   24· ·lacks foundation.
   25· · · · · · · Go ahead, Mr. Shayler.                                              14:52


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   ·1· · · · THE WITNESS:· I'm not sure if I did or did not.          I
   ·2· ·may have.
   ·3· · · · Q.· · BY MR. SAHELIAN:· Would there have been any
   ·4· ·businesses nearby, nearby say the Beverly Hospital that
   ·5· ·you sued?
   ·6· · · · MR. HASHEMI:· Objection, calls for speculation.
   ·7· · · · THE WITNESS:· There may have.· I'm not sure.· There
   ·8· ·may have been.
   ·9· · · · Q.· · BY MR. SAHELIAN:· I'm going to give you a
   10· ·moment to see if you can think of one or more.· Take your                      14:53
   11· ·time.
   12· · · · A.· · Uh-huh.· I can think of one.
   13· · · · Q.· · All right.· Go ahead.
   14· · · · A.· · It was a market.· I believe a market that I
   15· ·went to.
   16· · · · Q.· · Do you remember the name?
   17· · · · A.· · No.
   18· · · · Q.· · How far from the hospital was it?
   19· · · · A.· · Two blocks.
   20· · · · Q.· · All right.· And did you used to go to that                          14:53
   21· ·market?
   22· · · · A.· · Yes.
   23· · · · Q.· · And did you sue them?
   24· · · · A.· · Believe one of the lawyers filed a Complaint
   25· ·on it, yes.


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   ·1· · · · Q.· · Can you tell me what the status is on that
   ·2· ·case?
   ·3· · · · A.· · I couldn't tell you.· I -- I couldn't tell you                      14:53
   ·4· ·the status.· I believe they settled, I'm not sure.· I --
   ·5· ·I'm not sure.
   ·6· · · · Q.· · Can you describe the parking area of that
   ·7· ·market for me?
   ·8· · · · A.· · I could not.· I could not.
   ·9· · · · Q.· · When was the last time you were there?
   10· · · · A.· · I'm just not sure what last time I was there.
   11· ·Been recent.· Couple years.                                                    14:54
   12· · · · Q.· · Do you have any reason to go back there?
   13· · · · A.· · Not unless I go to the wound care center, no.
   14· · · · Q.· · Is there any reason for you to go back to the
   15· ·wound center?
   16· · · · A.· · Yes.
   17· · · · Q.· · Do you have an appointment?                                         14:54
   18· · · · A.· · No.
   19· · · · Q.· · When do you plan to go back there?
   20· · · · A.· · I'm not.
   21· · · · Q.· · As we sit here, you have no plans to go back
   22· ·to the wound center; is that correct?
   23· · · · A.· · That's correct.
   24· · · · Q.· · And as we sit here, you have no reason to go                        14:55
   25· ·back to the Beverly Hospital; is that correct?


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   ·1· · · · A.· · That -- I'm not sure.· If I -- if there's any
   ·2· ·reason for me to go back to the Beverly Hospital, I'm not
   ·3· ·sure.
   ·4· · · · Q.· · Do you know of any reason at this point for
   ·5· ·you to have to go back to the Beverly Hospital in
   ·6· ·Montebello?                                                                    14:55
   ·7· · · · A.· · No.
   ·8· · · · Q.· · Would there be any reason for you to go back
   ·9· ·to the market that's near the Beverly Hospital in
   10· ·Montebello?
   11· · · · A.· · If I was going to the Beverly Center, I might
   12· ·stop by that market.
   13· · · · Q.· · The Beverly Center or Beverly Hospital?                             14:56
   14· · · · A.· · Hospital and the wound care center, yes.
   15· · · · Q.· · What would be the reason for you to go back to
   16· ·the market?
   17· · · · A.· · Maybe to get something to eat or drink
   18· ·something.
   19· · · · Q.· · When you sued them, do you recall if you
   20· ·actually had gone inside or not?
   21· · · · MR. HASHEMI:· Objection, vague.                                           14:56
   22· · · · THE WITNESS:· Yes, I went inside.
   23· · · · Q.· · BY MR. SAHELIAN:· Do you recall what you
   24· ·bought?
   25· · · · A.· · No.· I don't recall what I bought.


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   ·1· · · · Q.· · Do you recall how many times you went to that
   ·2· ·market?
   ·3· · · · A.· · No, I don't.
   ·4· · · · Q.· · If I give you an address, would you be able to
   ·5· ·tell me if that's the actual address of the market?                            14:57
   ·6· · · · A.· · Nope.
   ·7· · · · Q.· · How would you know how to get there?
   ·8· · · · A.· · It's two blocks from the hospital.· On the
   ·9· ·same street.                                                                   14:57
   10· · · · Q.· · All right.· Is it on Poplar Avenue in
   11· ·Montebello?
   12· · · · A.· · I'm not sure.
   13· · · · Q.· · P-O-P-L-A-R?
   14· · · · A.· · I'm not sure.
   15· · · · Q.· · Do you recall if there was an icebox next to
   16· ·where the accessible parking space was?                                        14:58
   17· · · · A.· · Again I'm -- I'm not sure.
   18· · · · Q.· · Can you tell me how many entrances the market
   19· ·had?
   20· · · · A.· · Yes.
   21· · · · Q.· · How many?
   22· · · · A.· · One en -- one entrance.
   23· · · · MR. HASHEMI:· Could we take a break after you're
   24· ·done with this line of questioning, Mr. Sahelian?                              14:59
   25· · · · MR. SAHELIAN:· Of course.· All right.· I want to


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   ·1· ·mark what we have as Exhibit Number 10.
   ·2· · · · · · · And, Mr. Hashemi, you may have all the break
   ·3· ·your heart desires.
   ·4· · · · MR. HASHEMI:· Well, you're very kind and gracious.
   ·5· ·It shouldn't be more than --
   ·6· · · · MR. SAHELIAN:· Thank you.
   ·7· · · · MR. HASHEMI:· Thank you.                                                  14:59
   ·8· · · · · · · (Recess.)
   ·9· · · · Q.· · BY MR. SAHELIAN:· There we go.· I believe
   10· ·we --.· Oop, back on the record.· I believe we were on                         14:59
   11· ·Exhibit 10.· Exhibit 11.                                                       15:07
   12· · · · · · · (Exhibit 11 was referenced.)
   13· · · · Q.· · BY MR. SAHELIAN:· All right, Mr. Shayler, you
   14· ·were back to visit Dr. McCloy, I believe, in September of
   15· ·2020.· And once again he says your heel is almost healed.
   16· ·Any progress here in September?                                                15:07
   17· · · · A.· · No, they just started to do skin grafts.
   18· · · · Q.· · How did you walk on your leg with fresh skin
   19· ·grafts?
   20· · · · A.· · I had that boot.· I kept -- tried to keep the                       15:08
   21· ·pressure off that area.
   22· · · · Q.· · And you were on du-lo-cell -- duloxetine, I'll
   23· ·spell it, D-U-L-O-X-E-T-I-N-E, and Norco, N-O-R-C-O.
   24· ·What are those?
   25· · · · A.· · One's a nerve pain pill, and the other's a


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   ·1· ·Hydrocodone, 10 milligrams.                                                    15:08
   ·2· · · · Q.· · All right.· Did you tell Dr. McCloy at the
   ·3· ·time that you were having trouble walking?
   ·4· · · · A.· · I'm not sure what we talked about.· Obviously
   ·5· ·it was regarding the -- um, my wound on the bottom of --
   ·6· ·on my heel.                                                                    15:09
   ·7· · · · Q.· · Were you walking at the time?
   ·8· · · · A.· · As little as I could.
   ·9· · · · Q.· · Did you walk into his office?
   10· · · · A.· · Yes.
   11· · · · Q.· · Were you using a walker?
   12· · · · A.· · Believe I was.
   13· · · · Q.· · Would there be any reason for you not to use a                      15:09
   14· ·walker at the time?
   15· · · · A.· · I'm not sure.· I may have used the cane but,
   16· ·no, I believe I was using a walker then.
   17· · · · Q.· · And did you need to visit him repeatedly to
   18· ·get your medication, pain medication renewed?
   19· · · · A.· · Yeah, and then the wound on my foot, he wanted                      15:10
   20· ·to make sure it was healing.
   21· · · · Q.· · And did you in parallel continue to visit the
   22· ·Beverly Hospital?
   23· · · · A.· · Yes, I did.
   24· · · · Q.· · How often would you visit the Beverly Hospital
   25· ·at the time?


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   ·1· · · · A.· · Every couple weeks.
   ·2· · · · Q.· · Did you at the time discuss your knee-buckling
   ·3· ·issues with anyone at the Beverly Hospital?                                    15:10
   ·4· · · · A.· · I'm not sure.· I talked to my -- I talked to
   ·5· ·the surgeon about it.
   ·6· · · · Q.· · This is the surgeon that performed the skin                         15:11
   ·7· ·graft?
   ·8· · · · A.· · No, the surgeon that did the knee replacement.
   ·9· · · · Q.· · All right.· When did you have your knees
   10· ·replaced?
   11· · · · A.· · Seven years ago.
   12· · · · Q.· · What hospital?
   13· · · · A.· · At Beverly Hospital.
   14· · · · Q.· · When was the last time you saw a physician
   15· ·regarding your knee replacement?                                               15:11
   16· · · · A.· · I couldn't tell you.
   17· · · · Q.· · Was it over a year ago?
   18· · · · A.· · Oh, yes.
   19· · · · Q.· · Was it over two years ago?
   20· · · · A.· · Yes.
   21· · · · MR. SAHELIAN:· All right, let's move on to Exhibit
   22· ·12.· We were going to mark this as Exhibit 11, so now                          15:12
   23· ·we're at Exhibit 12.
   24· · · · · · · (Exhibit 12 was referenced.)
   25· · · · Q.· · BY MR. SAHELIAN:· All right, you went to


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   ·1· ·Dr. Parham Yashar.· And it says he is a surgeon.· Did you
   ·2· ·have him operate on you?
   ·3· · · · A.· · No, he didn't do surgery.· He said I needed                         15:12
   ·4· ·surgery.
   ·5· · · · Q.· · All right.· This is in November of 2019.· What
   ·6· ·was the purpose of --?· No, I take that back.· This was
   ·7· ·in September of 2020, my apologies.· So what did you see
   ·8· ·Dr. Yashar for?
   ·9· · · · A.· · The pinched sciatic nerve.
   10· · · · Q.· · Weren't you being treated by Dr. McCloy for                         15:13
   11· ·that?
   12· · · · MR. HASHEMI:· Objection, lacks foundation,
   13· ·argumentative.· Assumes facts not in evidence.
   14· · · · · · · Go ahead, Mr. Shayler.
   15· · · · THE WITNESS:· Dr. McCloy is just a primary care
   16· ·doctor.· I think he re -- referred me to someone that did
   17· ·surgery.                                                                       15:13
   18· · · · Q.· · BY MR. SAHELIAN:· All right.· Was he the one
   19· ·that referred you to Dr. Yashar?
   20· · · · A.· · I believe so.
   21· · · · Q.· · All right.· So what did you tell Dr. Yashar
   22· ·was your problem?
   23· · · · A.· · I believe we looked at an MRI of -- of my
   24· ·spine and told me that there was a certain surgery that
   25· ·he could do to relieve the pressure on that pinched


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   ·1· ·sciatic nerve.
   ·2· · · · Q.· · Did you tell him about your knees buckling?                         15:14
   ·3· · · · A.· · No, I was -- I just talked to him about the
   ·4· ·pain running down my left leg and buttocks.
   ·5· · · · Q.· · Did you tell him you were having trouble
   ·6· ·walking on rough terrain?
   ·7· · · · A.· · No.
   ·8· · · · Q.· · Did you tell him you were having trouble                            15:14
   ·9· ·walking on slopes?
   10· · · · A.· · I only talked to him about my pinched sciatic
   11· ·nerve.
   12· · · · Q.· · So at the conclusion of your visit, what did
   13· ·he recommend that you do?
   14· · · · A.· · I asked him if the surgery would relieve the
   15· ·pressure, and he said he couldn't guaranty that it would.                      15:15
   16· ·And so I -- I opt out of doing the surgery.
   17· · · · Q.· · But he did guaranty you that he would take
   18· ·your money; right?
   19· · · · MR. HASHEMI:· Objection, lacks foundation.
   20· · · · Q.· · BY MR. SAHELIAN:· All right.· That was a joke.
   21· ·Mr. Shayler, occasionally I'll throw in a joke here and
   22· ·there.
   23· · · · A.· · Yeah.
   24· · · · Q.· · So you'll have to excuse me.· It's the only                         15:15
   25· ·way I can stay sane.


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   ·1· · · · A.· · Yeah.· Yeah, he guaranteed that he would
   ·2· ·charge me for the surgery.
   ·3· · · · Q.· · All right.· Let's mark this as Exhibit 12 and
   ·4· ·move to Exhibit 13.
   ·5· · · · · · · (Exhibit 13 was referenced.)
   ·6· · · · Q.· · BY MR. SAHELIAN:· All right.· Seems as if you
   ·7· ·returned to visit Dr. Yashar.· And it says your neck was
   ·8· ·stiff, and you continue to have low back pain.· All                            15:16
   ·9· ·right?
   10· · · · A.· · Yeah.
   11· · · · Q.· · What was the conclusion of that visit?
   12· · · · A.· · I think that was the last visit I saw him.            I
   13· ·think, you know, he stated that he could do the surgery,
   14· ·but he couldn't guaranty that it would work, and he left
   15· ·it up to me.
   16· · · · Q.· · All right.· And where was his office located?                       15:16
   17· · · · A.· · I think over there in the Beverly Hills area
   18· ·somewhere.· Maybe off Sunset or some --.· I'm not sure.
   19· ·Beverly Hills area somewhere.
   20· · · · Q.· · Did he prescribe any medication?
   21· · · · A.· · I don't believe so.
   22· · · · MR. SAHELIAN:· All right.· So we're going to mark
   23· ·this as Exhibit 13 and move to 14.                                             15:17
   24· · · · · · · (Exhibit 14 was referenced.)
   25· · · · Q.· · BY MR. SAHELIAN:· It looks like a visit that


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   ·1· ·took place in December of 2020.· Again it's stiff neck
   ·2· ·and low back pain.· Anything different here, Mr. Shayler?                      15:17
   ·3· · · · A.· · No.
   ·4· · · · Q.· · All right.· Just a follow-up visit?
   ·5· · · · A.· · I believe so.
   ·6· · · · MR. SAHELIAN:· Let's mark this as Exhibit 14 and
   ·7· ·move to Exhibit 15.
   ·8· · · · · · · (Exhibit 15 was referenced.)
   ·9· · · · MR. SAHELIAN:· All right.· Now this one is an
   10· ·orthopedic independent medical examination and report by
   11· ·Dr. Mir, M-I-R.· We're going to mark it as Exhibit 15, am                      15:18
   12· ·I correct?
   13· · · · THE REPORTER:· Yes.
   14· · · · Q.· · BY MR. SAHELIAN:· And it is dated October of
   15· ·2021.· Have you seen this medical examination,
   16· ·Mr. Shayler?· Report.                                                          15:18
   17· · · · A.· · No, I -- I -- I believe I have, but it's been
   18· ·a long time.· I don't recall.· I may have seen it.
   19· · · · Q.· · Do you recall speaking with Dr. Mir?
   20· · · · A.· · Yes.
   21· · · · Q.· · Do you have any recollection as to what you                         15:19
   22· ·told him about your physical ailments?
   23· · · · A.· · No.· Huh-uh.· Don't recall.
   24· · · · Q.· · Do you recall anything with respect to your
   25· ·visit to Dr. Mir?


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   ·1· · · · A.· · No, I don't recall much of the visit.· I just
   ·2· ·remember he had some questions.                                                15:19
   ·3· · · · Q.· · You'll have to excuse me, it was a bit noisy
   ·4· ·out here.· Let me ask you again.· Do you have any
   ·5· ·recollection of -- any recollection at all of your visit
   ·6· ·with Dr. Mir?                                                                  15:20
   ·7· · · · A.· · I just remember him asking me some questions,
   ·8· ·and I tried to answer them as truth -- truthfully as I
   ·9· ·could.
   10· · · · Q.· · Did he make you walk and observe you?
   11· · · · A.· · Yes.
   12· · · · Q.· · Did you tell him you were having knee buckling
   13· ·problems?
   14· · · · A.· · I -- I don't remember if I did tell him that.                       15:20
   15· · · · Q.· · Did you tell him you were having difficulty
   16· ·walking on rough terrain?
   17· · · · A.· · Again I'm not sure if I did tell him that.
   18· · · · Q.· · Did you tell him you were having difficulty
   19· ·walking on slopes?
   20· · · · A.· · Again I'm not sure if I did mention that.                           15:21
   21· · · · Q.· · What was your understanding of why you were
   22· ·going to see Dr. Mir?
   23· · · · A.· · He was doing evaluation of me.
   24· · · · Q.· · All right.· Aside from making you walk, what
   25· ·else did he make you do, if anything?


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   ·1· · · · A.· · Bend and touch the ground and -- and checked                        15:22
   ·2· ·my legs out, stuff like that.
   ·3· · · · MR. SAHELIAN:· All right.· And we're going to mark
   ·4· ·this as Exhibit 15 and move on to the next.· All right,                        15:22
   ·5· ·it looks like Exhibit 16 is a picture of your handicap
   ·6· ·parking placard.
   ·7· · · · · · · (Exhibit 16 was referenced.)
   ·8· · · · MR. SAHELIAN:· Which I hope your attorney,
   ·9· ·Mr. Hashemi, will not take a copy of and use it for his
   10· ·regular trips to restaurants.
   11· · · · MR. HASHEMI:· All right.· I will not.· I will not do                      15:22
   12· ·that.· It's valet where I go.
   13· · · · MR. SAHELIAN:· You promise, counsel, you promise?
   14· · · · MR. HASHEMI:· I promise.· The valets do.· I don't
   15· ·need it.
   16· · · · MR. SAHELIAN:· Okay.· Good.
   17· · · · MR. HASHEMI:· It's not necessary for me.
   18· · · · MR. SAHELIAN:· Good.· I feel much better.
   19· · · · Q.· · So, Mr. Shayler, do you know which doctor gave
   20· ·you a prescription for this, for this handicap placard?                        15:23
   21· · · · A.· · Dr. McCloy.
   22· · · · Q.· · All right.· And why did he -- strike that.
   23· ·Did he make it possible for you to get this on the basis
   24· ·of something you told him?
   25· · · · MR. HASHEMI:· Objection, calls for speculation.


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   ·1· · · · · · · Go ahead.
   ·2· · · · THE WITNESS:· Well, he saw that I was using a                             15:23
   ·3· ·walker.· And I needed assistance to walk.
   ·4· · · · Q.· · BY MR. SAHELIAN:· Well, did you ask him to
   ·5· ·give you a --?· Strike that.
   ·6· · · · · · · Did you ask him to make it possible for you to
   ·7· ·get a handicap placard?
   ·8· · · · MR. HASHEMI:· Objection, vague.
   ·9· · · · THE WITNESS:· I -- I didn't ask him.· I just let him                      15:24
   10· ·know that I was having problems of getting to stores and
   11· ·stuff, and I brought that form with me and left it with
   12· ·him.
   13· · · · Q.· · BY MR. SAHELIAN:· Oh, I see.· Where did you
   14· ·get the form?
   15· · · · A.· · At DMV.
   16· · · · Q.· · I see.· So you asked him to fill out the form
   17· ·so you could get a handicap placard?                                           15:24
   18· · · · A.· · Yes.
   19· · · · Q.· · When was that?
   20· · · · A.· · Probably in 2020.
   21· · · · Q.· · Was it during one of your visits or outside of
   22· ·one of your visits?
   23· · · · A.· · No, it was one of my visits to see him.                             15:25
   24· · · · Q.· · All right.· Did you tell him you're having
   25· ·difficulty walking across a parking lot?


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   ·1· · · · A.· · Yeah, I think it was in 2019 that I brought
   ·2· ·the forms to him.· And, yes, I told him it -- walking a
   ·3· ·long ways was hard.
   ·4· · · · Q.· · And at the time in your mind, what was a long
   ·5· ·way?
   ·6· · · · A.· · Anything over ten car lengths or so, you know,                      15:25
   ·7· ·from the store, I was having problems, you know, walking.
   ·8· ·That's when I was -- my feet were -- were infected.
   ·9· · · · Q.· · Did you say "anything over ten car lengths"?
   10· · · · A.· · Yeah, I told him I need to park closer to                           15:26
   11· ·the -- to the -- wherever I'm going, I need to park
   12· ·closer.
   13· · · · Q.· · And you said that was while you were having
   14· ·your open sore treated; correct?
   15· · · · A.· · Yeah.· Yes, after the surgery on the knee
   16· ·replacement, yes.
   17· · · · Q.· · So that the purpose for getting your handicap
   18· ·placard was to prevent you from having to walk longer                          15:26
   19· ·distances because you were having your open sore treated;
   20· ·correct?
   21· · · · MR. HASHEMI:· Objection, leading and argumentative,
   22· ·lacks foundation.
   23· · · · · · · Go ahead, Mr. Shayler.
   24· · · · THE WITNESS:· That was one of the reasons.
   25· · · · Q.· · BY MR. SAHELIAN:· All right.· And what was


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   ·1· ·another reason?
   ·2· · · · A.· · That I needed to -- because of my knees were
   ·3· ·so painful, I wanted to try to walk as least as I could.                       15:27
   ·4· · · · Q.· · And when did you say you had your knees done?
   ·5· · · · A.· · I'm not sure exactly when I had my knees done.
   ·6· · · · Q.· · I believe you mentioned about six or seven
   ·7· ·years ago.· Is that -- is that a ballpark?                                     15:27
   ·8· · · · A.· · Yeah, ballpark figure, something like that.
   ·9· ·2016 maybe.
   10· · · · Q.· · All right.
   11· · · · A.· · I'm not sure.
   12· · · · Q.· · When was the first time you used the handicap
   13· ·placard?
   14· · · · A.· · After it was delivered to me in the mail.
   15· · · · Q.· · Roughly what year was that?
   16· · · · A.· · 2019.
   17· · · · Q.· · When did you begin experiencing pain in your
   18· ·knees after your surgery?
   19· · · · A.· · Right after the surgery, I experienced pain.                        15:28
   20· · · · Q.· · All right.· But you waited a number of years
   21· ·before you got the placard?
   22· · · · A.· · No, I got it -- yeah, I waited a year or two
   23· ·before I got the placard, yeah.
   24· · · · Q.· · So when was the last time you visited the
   25· ·surgeon that performed your knee replacement?                                  15:28


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   ·1· · · · A.· · Couple years after the surgery.
   ·2· · · · Q.· · Have you since told him you're having
   ·3· ·difficulty with your knees?
   ·4· · · · A.· · I told him that.
   ·5· · · · Q.· · When?
   ·6· · · · A.· · Couple years after the surgery, I told him I
   ·7· ·was having difficulty with my knees.                                           15:29
   ·8· · · · Q.· · So that was, what, around 2017, 2018?
   ·9· · · · A.· · 2017, 2018, yeah.
   10· · · · Q.· · And what did he tell you in response, if
   11· ·anything?
   12· · · · A.· · He said, "When you came to see me, you were
   13· ·using a walker.· And now you can walk.· You may be
   14· ·limping and -- and having problems, but you can walk."                         15:29
   15· ·And I -- so he said, you know, "To me that's a success."
   16· · · · Q.· · So essentially if I understand, the position
   17· ·he's taking is that you need to put up with a little bit
   18· ·of pain; is that correct?· Is that his position?
   19· · · · A.· · Yes.· Yes.
   20· · · · Q.· · Was his attitude, "Be a big boy and take it"?                       15:30
   21· · · · A.· · Something like that.· He didn't really care,
   22· ·to be honest with you.
   23· · · · Q.· · All right.· Did he ask you to continue using
   24· ·your artificial knees so you can stay in shape?                                15:30
   25· · · · MR. HASHEMI:· Objection, vague.


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   ·1· · · · THE WITNESS:· Yes.
   ·2· · · · Q.· · BY MR. SAHELIAN:· So is that part of --?
   ·3· ·Strike that.· Is that your understanding, that part of
   ·4· ·having artificial knees is to have to continue using
   ·5· ·them?
   ·6· · · · A.· · Yes, that's correct.
   ·7· · · · Q.· · Otherwise they rust and you have to use 3-in-1                      15:31
   ·8· ·Oil and get it lubricated?
   ·9· · · · A.· · Yeah, they get stiff.· And, yeah, you got to
   10· ·keep moving them.
   11· · · · Q.· · All right.· That was a joke, of course.· You
   12· ·got that.
   13· · · · · · · All right.· So if you don't keep moving your
   14· ·artificial knees, they -- what happens?· They stiffen up?
   15· · · · A.· · Yeah, they stiffen up.
   16· · · · Q.· · And are you having to also use maybe a                              15:31
   17· ·stationary bike to keep your knees in motion?
   18· · · · MR. HASHEMI:· Lacks foundation.
   19· · · · THE WITNESS:· Yes, I -- I do use a bike, a bike at
   20· ·our gym, yeah.
   21· · · · Q.· · BY MR. SAHELIAN:· So that that helps you keep
   22· ·it, for the lack of a better word, lubricated; is that                         15:32
   23· ·correct?
   24· · · · A.· · Yes.
   25· · · · Q.· · So when you use a handicap spot, when you go


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   ·1· ·anywhere, which direction do you park?· Do you park head-
   ·2· ·on or do you park backwards?
   ·3· · · · A.· · No, head-on.
   ·4· · · · Q.· · All right.· And aren't you concerned that
   ·5· ·somebody might park right next to you and you won't be
   ·6· ·able to open the door wide enough?                                             15:32
   ·7· · · · MR. HASHEMI:· Objection, vague.
   ·8· · · · THE WITNESS:· No, I'm not worried about that.· I --
   ·9· ·I can usually get in and out without a problem.
   10· · · · Q.· · BY MR. SAHELIAN:· All right.· And when you
   11· ·take your cane with you, where do you put it in the car?
   12· · · · A.· · Right to -- would be on the -- on the seat                          15:33
   13· ·next to me.
   14· · · · Q.· · All right.· Now when you leave the car, do you
   15· ·take your cane with you?
   16· · · · A.· · Or the walker.
   17· · · · Q.· · All right.· So when you're exiting the
   18· ·driver's seat, do you reach over and grab the cane and
   19· ·pull it towards you and --                                                     15:33
   20· · · · A.· · Yeah, if that's what I'm going to use, just
   21· ·the cane, then that's what I would do, right.
   22· · · · Q.· · All right.· So you put the cane right in the
   23· ·passenger seat area, and then when you're exiting the
   24· ·driver's seat, you reach over and you grab your cane and
   25· ·close the driver's door; am I correct?                                         15:34


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   ·1· · · · A.· · Yes.· I put the cane down first to steady me,
   ·2· ·and then I get out of the driver's and, yeah.· If I'm
   ·3· ·going to use the walker, then I use the cane just to get
   ·4· ·back there, and then I'll grab the walker.
   ·5· · · · Q.· · So --
   ·6· · · · A.· · Because the walker's in the back of the car.
   ·7· · · · Q.· · So by the time you close the driver's side
   ·8· ·door, you already have your cane with you; correct?                            15:34
   ·9· · · · A.· · Oh, yeah.
   10· · · · Q.· · All right.· And that way you can use the cane
   11· ·to walk to the back of the car and pull out your walker
   12· ·if that's what you need to do; correct?
   13· · · · A.· · Yes.· Uh-huh.
   14· · · · Q.· · And I notice you drive an SUV; is that
   15· ·correct?
   16· · · · A.· · Yes.
   17· · · · Q.· · And what is the make and model?                                     15:35
   18· · · · A.· · It's a Nissan Rogue.
   19· · · · Q.· · When have you --?· Strike that.· How long have
   20· ·you driven that?
   21· · · · A.· · Off and on for the last four years:· Or
   22· ·last -- I had a Volkswagen before that.
   23· · · · Q.· · How long ago was that?                                              15:36
   24· · · · A.· · Oh, I don't know.· I turned it in last year.
   25· ·So I just started this Nissan Rogue.


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   ·1· · · · Q.· · So you've driven the Nissan for about a year
   ·2· ·now; right?
   ·3· · · · A.· · Right.· Before that, I had that -- a red --
   ·4· ·orange Volkswagen Tiguan.· SUV.
   ·5· · · · Q.· · Would you spell that model name?
   ·6· · · · A.· · I couldn't tell you how to spell the Tiguan.                        15:36
   ·7· ·T-I-G-U-E maybe?
   ·8· · · · Q.· · All right, I think it's maybe T-I-G-U-A-N, but
   ·9· ·I could be wrong, and I'm not going to ask Mr. Hashemi
   10· ·because he only drives Rolls-Royces, so he wouldn't know.                      15:36
   11· · · · MR. HASHEMI:· Counsel, you're misleading the record
   12· ·here.· I don't drive Rolls-Royces.· I'm chauffeured in
   13· ·Rolls-Royces.
   14· · · · MR. SAHELIAN:· There you go.· There you go.· I knew
   15· ·there was a reason I didn't ask you.
   16· · · · · · · (Laughter.)
   17· · · · MR. HASHEMI:· That could all be true.· That would be
   18· ·wonderful.
   19· · · · MR. SAHELIAN:· Okay.· I'm going to ask my assistant
   20· ·to go to the Pico case exhibits.                                               15:37
   21· · · · MR. HASHEMI:· How we doing on time?
   22· · · · MR. SAHELIAN:· I'll get you out before 5:00 p.m.,
   23· ·Mr. Hashemi.· You don't have to worry.
   24· · · · MR. HASHEMI:· I'm not concerned about that.· You
   25· ·take your time, Mr. Sahelian.· I was just going to ask if                      15:37


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   ·1· ·we can take five minutes.· I need to refill my water.
   ·2· · · · MR. SAHELIAN:· Absolutely.· We'll take five minutes.
   ·3· · · · MR. HASHEMI:· Thank you.
   ·4· · · · · · · (Recess.)
   ·5· · · · Q.· · BY MR. SAHELIAN:· All right, Mr. Shayler,
   ·6· ·let's see if we can get you home by five o'clock.· All                         15:38
   ·7· ·right.· So let's go to the first Exhibit 1.· So is this                        15:49
   ·8· ·orange car your Volkswagen that you had?
   ·9· · · · A.· · Yes.
   10· · · · MR. SAHELIAN:· All right.· We're going to mark this
   11· ·as Exhibit 17.
   12· · · · · · · (Exhibit 17 was referenced.)
   13· · · · Q.· · BY MR. SAHELIAN:· Are you holding a level?          I
   14· ·should --.· That's you in the photograph; correct,
   15· ·Mr. Shayler?                                                                   15:49
   16· · · · A.· · Yes.
   17· · · · Q.· · All right.· And you're holding a phone in your
   18· ·left hand; correct?
   19· · · · A.· · Yes.
   20· · · · Q.· · And a level gauge with your right hand;
   21· ·correct?
   22· · · · A.· · Yes.
   23· · · · MR. SAHELIAN:· All right.· That's Exhibit 17.· So we
   24· ·marked the last one as 17; correct?
   25· · · · THE REPORTER:· Yes.                                                       15:50


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   ·1· · · · MR. SAHELIAN:· Okay.· So this one's 18.
   ·2· · · · · · · (Exhibit 18 was referenced.)
   ·3· · · · Q.· · BY MR. SAHELIAN:· Mr. Shayler, this is also a
   ·4· ·photograph of you next to your Volkswagen; correct?
   ·5· · · · A.· · Uh-huh.
   ·6· · · · Q.· · Is that a yes?
   ·7· · · · A.· · Yes.
   ·8· · · · Q.· · All right.· And you're leaning over with the
   ·9· ·level gauge in your left hand, I'm guessing to take a
   10· ·slope measurement; correct?
   11· · · · A.· · Yes.                                                                15:50
   12· · · · Q.· · Okay.· And can you tell -- perhaps Audrey can
   13· ·magnify the photograph -- next to your feet, can you tell
   14· ·there's cracking on the asphalt?
   15· · · · A.· · Yes, there is.
   16· · · · MR. SAHELIAN:· All right.· Okay.· We're going to
   17· ·mark this as Exhibit 18.
   18· · · · Q.· · And that's you again bent all the way and                           15:51
   19· ·taking a slope measurement; correct?
   20· · · · A.· · Uh-huh.
   21· · · · Q.· · Is that a yes?
   22· · · · A.· · Yes.
   23· · · · Q.· · All right.· And can you tell me when you were
   24· ·taking that measurement?
   25· · · · A.· · No, I could not tell you when.· I'm not sure                        15:51


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   ·1· ·where that is.
   ·2· · · · MR. SAHELIAN:· All right.· Maybe some additional
   ·3· ·pictures might help.· We're going to mark this as Exhibit
   ·4· ·19 and move to Exhibit 20.
   ·5· · · · · · · (Exhibits 19 and 20 were referenced.)
   ·6· · · · Q.· · BY MR. SAHELIAN:· All right.· Is this you
   ·7· ·taking a photograph of a level gauge on the ground,
   ·8· ·Mr. Shayler?                                                                   15:52
   ·9· · · · A.· · Yes.· Yes, it is.
   10· · · · MR. SAHELIAN:· Okay.· So we'll mark this as Exhibit
   11· ·20.· Move to 21.
   12· · · · · · · (Exhibit 21 was referenced.)
   13· · · · Q.· · BY MR. SAHELIAN:· Is this you once again bent
   14· ·taking a picture of a level gauge?
   15· · · · A.· · Uh-huh.
   16· · · · Q.· · Is that a yes?
   17· · · · A.· · Yes.
   18· · · · MR. HASHEMI:· Give an audible response, please.                           15:52
   19· · · · THE WITNESS:· Yes.
   20· · · · MR. SAHELIAN:· All right.· We're going to mark this
   21· ·as 21 and move to 22.· We don't need this one.· Let's
   22· ·move to the next.· Next.· Next.· Next.· Keep going.
   23· ·Next.
   24· · · · · · · All right.· Are you able to see the entire
   25· ·photograph?· We're going to mark this as Exhibit 22.                           15:53


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   ·1· · · · A.· · Uh-huh.
   ·2· · · · · · · (Exhibit 22 was referenced.)
   ·3· · · · Q.· · BY MR. SAHELIAN:· Is that a yes?
   ·4· · · · A.· · Yes.
   ·5· · · · Q.· · Is that you in the photograph, Mr. Shayler?
   ·6· · · · A.· · Yeah, I'm hunched over, yeah.                                       15:53
   ·7· · · · Q.· · All right.· So would it be fair to say that
   ·8· ·you're walking towards a -- what looks like a sidewalk?
   ·9· · · · A.· · Yeah, it's hard to tell what that is.· Yeah,
   10· ·it looks that way.
   11· · · · Q.· · Perhaps something that's a few inches higher                        15:54
   12· ·than the asphalt?
   13· · · · MR. HASHEMI:· Calls for speculation, lacks
   14· ·foundation, argumentative.
   15· · · · THE WITNESS:· Yeah, I'm not sure what the
   16· ·sidewalk -- what level it is.
   17· · · · Q.· · BY MR. SAHELIAN:· Okay.· Can you tell me what
   18· ·you're walking towards here?
   19· · · · A.· · Looks like maybe an entrance maybe, I'm not
   20· ·sure.                                                                          15:55
   21· · · · Q.· · All right.· Could that be a sidewalk?· Don't
   22· ·guess, but can you tell me if that's possibly a sidewalk
   23· ·you're walking towards?
   24· · · · MR. HASHEMI:· Calls for speculation.
   25· · · · THE WITNESS:· Could be.


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   ·1· · · · MR. SAHELIAN:· All right, next.· Okay.· We're going
   ·2· ·to mark this as Exhibit 23.
   ·3· · · · · · · (Exhibit 23 was referenced.)
   ·4· · · · Q.· · BY MR. SAHELIAN:· Mr. Shayler, is that you in                       15:55
   ·5· ·the photograph?
   ·6· · · · A.· · Yes, it is.
   ·7· · · · Q.· · What does it look like you're doing here in
   ·8· ·this photograph?
   ·9· · · · A.· · Looks like I'm stepping up.
   10· · · · Q.· · Stepping up into what?
   11· · · · A.· · Looks like a sidewalk or to an entrance
   12· ·somewhere.
   13· · · · Q.· · All right.· Sorry I interrupted you.· What did                      15:55
   14· ·you say?
   15· · · · A.· · Either a market or a liquor store or
   16· ·something, I'm not sure.
   17· · · · Q.· · All right.· So would it be fair to say that
   18· ·your leg is -- your right leg is on a sidewalk and your
   19· ·left leg is on a parking lot on the ground?
   20· · · · A.· · Yeah, it looks that way.· It's hard to tell                         15:56
   21· ·what those black things are, what that is.
   22· · · · Q.· · So would it be fair to say that your right
   23· ·foot is elevated while your left foot is on the asphalt?
   24· · · · A.· · Yeah.
   25· · · · Q.· · Were you able to lift your right foot up


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   ·1· ·easily?
   ·2· · · · A.· · That was a good day, yeah.
   ·3· · · · Q.· · I'm sorry, what did you say?
   ·4· · · · A.· · That was a good day, yes.                                           15:56
   ·5· · · · Q.· · I see.· All right.· Let's go to the next.
   ·6· ·Let's go back to the previous photograph.· Now again
   ·7· ·I'm -- I believe this was 23; correct?
   ·8· · · · THE REPORTER:· Yes.
   ·9· · · · Q.· · BY MR. SAHELIAN:· Your one hand is in your
   10· ·pocket.· And do you normally walk with your hands in your                      15:57
   11· ·pocket, Mr. Shayler?
   12· · · · A.· · No, I must have been getting something out of
   13· ·my pocket.
   14· · · · MR. SAHELIAN:· Okay.· All right, let's move to the
   15· ·next.· Okay, we're going to mark this as Exhibit 24.
   16· · · · · · · (Exhibit 24 was referenced.)
   17· · · · Q.· · BY MR. SAHELIAN:· Is that you in the                                15:58
   18· ·photograph, Mr. Shayler?
   19· · · · A.· · (No audible response.)
   20· · · · Q.· · Did we lose audio?· I think we lost -- I think
   21· ·we lost communication with the court reporter.
   22· · · · THE REPORTER:· I'm here.· I'm here.
   23· · · · Q.· · BY MR. SAHELIAN:· Oh, okay.· Can you hear,                          15:58
   24· ·Mr. Shayler?· Mr. Shayler?· Mr. Hashemi?· Did we lose
   25· ·them?


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   ·1· · · · THE REPORTER:· I have no idea.
   ·2· · · · MR. SAHELIAN:· Audrey, you still there?
   ·3· · · · EXHIBIT TECHNICIAN:· Yeah, I'm still here.· I think                       15:59
   ·4· ·their video is fine.· I'm not sure about their audio.
   ·5· · · · MR. SAHELIAN:· Linda, maybe we should restart the
   ·6· ·link.· What do you suggest?
   ·7· · · · THE REPORTER:· Can I go off the record?
   ·8· · · · MR. SAHELIAN:· Yes.                                                       15:59
   ·9· · · · · · · (Brief recess.)
   10· · · · Q.· · BY MR. SAHELIAN:· So that is you in the
   11· ·photograph?· Are you able to tell me what you're walking                       15:59
   12· ·on?
   13· · · · A.· · What do you mean walking on?                                        16:03
   14· · · · Q.· · Well, what are you stepping on here?· What's
   15· ·on the ground?
   16· · · · A.· · Oh, those are mats.
   17· · · · Q.· · Are you --
   18· · · · A.· · This was me walking through the door.
   19· · · · Q.· · Okay, are you comfortable walking over mats?
   20· · · · MR. HASHEMI:· Objection, vague.
   21· · · · Q.· · BY MR. SAHELIAN:· Does it cause you any pain?                       16:03
   22· · · · A.· · Causes me anxiety.· My walker catches those
   23· ·mats.
   24· · · · Q.· · All right.· Are you experiencing anxiety there
   25· ·walking over the mat?


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   ·1· · · · A.· · No, I can tell I'm in pain, but...
   ·2· · · · Q.· · So my question was are you experiencing
   ·3· ·anxiety walking over the mats in this photograph?                              16:04
   ·4· · · · A.· · I'm not sure what I'm experience.· I can see I
   ·5· ·was in pain.· By my facial expression.
   ·6· · · · Q.· · All right.· Does this refresh your memory,
   ·7· ·this photograph of you walking into a store with an ATM
   ·8· ·on one side and what looks like a lottery dispenser,                           16:04
   ·9· ·lottery ticket dispenser on the other?· Does this refresh
   10· ·your memory as to where you were?
   11· · · · A.· · No.· Huh-uh.
   12· · · · MR. SAHELIAN:· All right.· Let's move on to the
   13· ·next.· Next.· We're going to skip through the next few
   14· ·exhibits.· Keep going.· Keep going.· All right, let's
   15· ·take a look at this photograph.· Keep going.· Next.· All                       16:05
   16· ·right.· Let's take a look at this.
   17· · · · · · · We're going to mark this as I believe Exhibit
   18· ·25.· Audrey, can you center the photograph, please?
   19· · · · · · · (Exhibit 25 was referenced.)
   20· · · · Q.· · BY MR. SAHELIAN:· All right.· Is that you in                        16:05
   21· ·the photograph, Exhibit 25, Mr. Shayler?
   22· · · · A.· · Yeah, it looks like me, uh-huh.
   23· · · · Q.· · What does it look like you're doing here in
   24· ·this photograph?
   25· · · · A.· · I'm -- I'm not sure.


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   ·1· · · · Q.· · Could it be you're carrying around loose
   ·2· ·change in a Ziploc bag?
   ·3· · · · A.· · Yeah, looks like that is a Ziploc bag with                          16:06
   ·4· ·some change, uh-huh.
   ·5· · · · MR. SAHELIAN:· All right.· Audrey, would you expand
   ·6· ·the area where his hands are?
   ·7· · · · Q.· · All right, Mr. Shayler, is that you holding
   ·8· ·loose change in your left-hand?
   ·9· · · · A.· · Yeah, my left hand, yeah.
   10· · · · Q.· · And what are you doing with your right hand?
   11· · · · A.· · I think I'm grabbing that baggie or grabbing
   12· ·the corner of, I'm not sure.                                                   16:07
   13· · · · Q.· · Can you tell your fingers are inside the bag?
   14· · · · A.· · It looks like one finger is.· Yeah.
   15· · · · MR. SAHELIAN:· All right.· Okay.· So we're marking
   16· ·this as Exhibit 25.· Next.· I think we can move through
   17· ·these photographs until he gets to the sidewalk, Audrey.                       16:07
   18· ·If you would just show me all the photographs, I can
   19· ·tell --.· Oh, there you go.· That's the one.· All right,
   20· ·Mr. Shayler, we're going to mark this as Exhibit 26.
   21· · · · · · · (Exhibit 26 was referenced.)
   22· · · · Q.· · BY MR. SAHELIAN:· Is that you in this
   23· ·photograph?
   24· · · · A.· · Yes, it is.
   25· · · · Q.· · And that's your right foot elevated; correct?


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   ·1· · · · A.· · Yes.                                                                16:07
   ·2· · · · Q.· · Can you tell me -- can you describe the
   ·3· ·location here relative to the store?
   ·4· · · · A.· · No, I couldn't tell you location.
   ·5· · · · Q.· · Would it be fair to say you're about to -- or
   ·6· ·would it be fair to say that you have just exited the
   ·7· ·door?                                                                          16:08
   ·8· · · · A.· · Yes.
   ·9· · · · Q.· · And would it be fair to say that you're about
   10· ·to step down the sidewalk?
   11· · · · A.· · Looks like I am getting ready to step down.
   12· · · · Q.· · And that you have a drink in your right hand?
   13· · · · A.· · I have a --
   14· · · · MR. SAHELIAN:· Audrey, would you blow up --
   15· · · · THE WITNESS:· Yeah, I could see that.· I could see                        16:08
   16· ·that, yeah.· I do have a drink in my right hand.
   17· · · · MR. SAHELIAN:· Okay, next photograph.· Center this.
   18· · · · · · · (Exhibit 27 was referenced.)
   19· · · · Q.· · BY MR. SAHELIAN:· Does this photograph that
   20· ·we're going to mark 27 look like you've made it onto the
   21· ·asphalt surface?
   22· · · · MR. HASHEMI:· Objection, lacks foundation,
   23· ·argumentative.                                                                 16:09
   24· · · · · · · Go ahead.
   25· · · · THE WITNESS:· Yes.


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   ·1· · · · Q.· · BY MR. SAHELIAN:· So you've stepped off the
   ·2· ·sidewalk; is that correct?
   ·3· · · · MR. HASHEMI:· Objection, argumentative, lacks
   ·4· ·foundation.· Go ahead.
   ·5· · · · THE WITNESS:· Yes.
   ·6· · · · Q.· · BY MR. SAHELIAN:· And your left foot now is
   ·7· ·elevated off the ground; is that correct?
   ·8· · · · A.· · Uh-huh, yes.
   ·9· · · · Q.· · Is that a yes?
   10· · · · A.· · Yes.
   11· · · · Q.· · And you're -- I'm assuming you're now headed                        16:09
   12· ·back to your car?
   13· · · · A.· · Yes.
   14· · · · MR. SAHELIAN:· All right, so we've marked this as
   15· ·Exhibit Number 27.
   16· · · · · · · Next.· Keep going.· Until he reached reaches
   17· ·his car.· Okay.· We're going to mark this as Exhibit 28.
   18· · · · · · · (Exhibit 28 was referenced.)
   19· · · · Q.· · BY MR. SAHELIAN:· Mr. Shayler, is that you                          16:10
   20· ·standing next to what looks like an orange car?
   21· · · · A.· · Yes.
   22· · · · Q.· · And would you agree with me that you're
   23· ·opening the door with your right hand?
   24· · · · A.· · Yes.
   25· · · · MR. SAHELIAN:· Okay.· Did we mark this as an


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   ·1· ·exhibit?
   ·2· · · · · · · (Record read.)
   ·3· · · · MR. SAHELIAN:· Yes.· Audrey, I think we can skip                          16:10
   ·4· ·these, this series of photographs and go to the site
   ·5· ·inspection.· All right.· So let's go to Exhibit 29.
   ·6· · · · · · · (Exhibit 29 was referenced.)
   ·7· · · · Q.· · BY MR. SAHELIAN:· Mr. Shayler, relative to the                      16:11
   ·8· ·lawsuit in this case which involves an Irish Pub, does
   ·9· ·this photograph of a parking lot look familiar to you?                         16:11
   10· · · · A.· · Yes, it does.
   11· · · · MR. SAHELIAN:· We're going to mark this as Exhibit
   12· ·29.· I'm going to have Audrey blow up a little bit the
   13· ·center portion.
   14· · · · Q.· · Okay, tell me, Mr. Shayler, did you visit the
   15· ·Irish Pub?                                                                     16:12
   16· · · · A.· · Yes.
   17· · · · Q.· · How far away is it from your place of
   18· ·residence?
   19· · · · A.· · I'm not sure.
   20· · · · Q.· · You know where the Irish Pub is located?
   21· · · · A.· · In Lawndale, isn't it?
   22· · · · Q.· · And have you ever had a drink at the Irish
   23· ·Pub?
   24· · · · A.· · Yes.
   25· · · · Q.· · How many times?                                                     16:13


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   ·1· · · · A.· · One time.
   ·2· · · · Q.· · What was the date?
   ·3· · · · A.· · It was the 15th.
   ·4· · · · Q.· · 15th of?
   ·5· · · · A.· · The 15th of September.
   ·6· · · · Q.· · What year?
   ·7· · · · A.· · 2021.
   ·8· · · · Q.· · How do you know that was the date?                                  16:13
   ·9· · · · A.· · How do I know that was the date?· I looked at
   10· ·the Complaint.
   11· · · · Q.· · Any other reason why you would know that was
   12· ·the date?
   13· · · · A.· · No.
   14· · · · Q.· · All right.· So on September 15th, 2021, you                         16:13
   15· ·arrived I'm assuming to this place from your place of
   16· ·residence; is that correct?
   17· · · · A.· · No.· I was in Long Beach.
   18· · · · Q.· · Did you have a doctor's appointment that day?
   19· · · · A.· · Yes, with Dr. McCloy.                                               16:14
   20· · · · Q.· · All right.· So on your way back, you decided
   21· ·to take the doctor's advice and head to an Irish Pub?
   22· ·That was a joke, Mr. Shayler.· You don't have to answer
   23· ·that.
   24· · · · A.· · No, the doctor --
   25· · · · Q.· · I thought perhaps he advised you to hit the


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   ·1· ·Irish Pub so -- so you could forget about your visit.                          16:14
   ·2· · · · · · · All right.· So what time of the day was it?
   ·3· · · · A.· · Oh, I'm not sure what time of the day it was.
   ·4· ·Probably about one o'clock.· Two o'clock.· Something like
   ·5· ·that.· I'm not sure.
   ·6· · · · Q.· · And you were able to go in; correct?
   ·7· · · · A.· · Yeah, I believe that was a bad day.· That was
   ·8· ·a day I had to use a walker.                                                   16:15
   ·9· · · · Q.· · All right.· And did you sit at the bar and
   10· ·have a drink or a table?
   11· · · · A.· · I think I sat at a booth.· And -- and had a --
   12· ·a Corona beer.
   13· · · · Q.· · Did you have somebody with you?
   14· · · · A.· · No, just me.
   15· · · · Q.· · Do you remember if anyone served you?
   16· · · · A.· · I believe a lady did.
   17· · · · Q.· · Can you tell me what she looked like?                               16:15
   18· · · · A.· · She had dark brown hair or black hair, and she
   19· ·was nice.
   20· · · · Q.· · How old was she?
   21· · · · A.· · Oh, I don't know, maybe 30, 35, I'm not sure.
   22· · · · Q.· · Did you pay for it using a credit card?
   23· · · · A.· · Yeah.· Yeah.
   24· · · · Q.· · Did you keep the receipt?
   25· · · · A.· · Um, I did keep the receipt, yes.


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   ·1· · · · Q.· · All right.· Besides a beer, did you have                            16:16
   ·2· ·anything else?
   ·3· · · · A.· · No, just a beer.
   ·4· · · · Q.· · Now when you had your -- you said you took
   ·5· ·your walker in with you; correct?
   ·6· · · · A.· · Yes.
   ·7· · · · Q.· · Was the door, back door that we're staring at
   ·8· ·right now in Exhibit 29, was that back door closed or
   ·9· ·open when you went in?
   10· · · · A.· · It was closed.
   11· · · · Q.· · So how did you manage to get your walker in                         16:17
   12· ·with the door closed?
   13· · · · A.· · I'm not sure if I went through the back door
   14· ·or the front door, I'm not sure.· I think I went through
   15· ·the front door.
   16· · · · Q.· · All right.
   17· · · · A.· · I'd never been there before.
   18· · · · Q.· · All right.· So does the accessible parking
   19· ·space look familiar to you?
   20· · · · A.· · Yes.
   21· · · · Q.· · Did you park there?                                                 16:17
   22· · · · A.· · Yes, I did, uh-huh.
   23· · · · Q.· · And did you park backwards or did you park
   24· ·head-on?
   25· · · · A.· · I parked it head-on.


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   ·1· · · · Q.· · With your headlights facing the wall; correct?
   ·2· · · · A.· · Yes.
   ·3· · · · Q.· · And you were staring at the big Irish Pub sign                      16:17
   ·4· ·right above you; correct?
   ·5· · · · A.· · Yes.
   ·6· · · · Q.· · All right.· And you exited the driver's side;
   ·7· ·correct?
   ·8· · · · A.· · That's correct.
   ·9· · · · Q.· · And you took your cane with you; correct?
   10· · · · A.· · No, I took a walker.
   11· · · · Q.· · All right.· How did you get to the walker?                          16:18
   12· · · · A.· · I exited my door, went to the back and took my
   13· ·walker out.
   14· · · · Q.· · All right.· So you walked to the back of the
   15· ·car without a cane?
   16· · · · A.· · Yeah, I usually hold onto the side of the car
   17· ·when I -- when I go back there if it's a bad day like
   18· ·that day was.
   19· · · · Q.· · So that's what you normally do; right?· You                         16:18
   20· ·just use the car as support; right?
   21· · · · A.· · Right.
   22· · · · Q.· · Instead of using the cane; right?
   23· · · · A.· · Yes.· Sometimes.
   24· · · · Q.· · Well, what would you do other times?
   25· · · · A.· · Sometimes I use the cane, sometimes I use the


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   ·1· ·car as support, it just depends.
   ·2· · · · Q.· · All right.· Did you have your cane with you
   ·3· ·that day?
   ·4· · · · A.· · Yes.
   ·5· · · · Q.· · All right.· But you didn't use it; right?
   ·6· · · · A.· · Huh-uh, I used the walker that day.                                 16:19
   ·7· · · · Q.· · All right.· So where was the walker located?
   ·8· · · · A.· · In the rear of the car.· The -- the rear
   ·9· ·section.
   10· · · · Q.· · All right.· Which car were you driving that
   11· ·day?
   12· · · · A.· · My -- the Tiguan, the Volkswagen Tiguan.
   13· · · · Q.· · What makes you realize that it was the Tiguan                       16:19
   14· ·that you were driving?
   15· · · · A.· · Because at that time I had a -- I had the
   16· ·Tiguan.
   17· · · · Q.· · Okay.· What date was that?
   18· · · · A.· · September 15th of 2021.
   19· · · · Q.· · When did you sell or dispose of the Tiguan?
   20· · · · A.· · Earlier this year.· The lease was up.                               16:20
   21· · · · Q.· · Okay.· So now you're in the back of your car,
   22· ·and you pulled out your walker; correct?
   23· · · · A.· · Right.
   24· · · · Q.· · And did you close the back hatch?
   25· · · · A.· · Yes.


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   ·1· · · · Q.· · And you were able to reach -- reach up to be
   ·2· ·able to grab the back hatch and you pull it down?                              16:20
   ·3· · · · A.· · Yeah, with my left hand.
   ·4· · · · Q.· · All right.· What did you do then?
   ·5· · · · A.· · I believe then I went -- I tried to go --.          I
   ·6· ·don't know if I tried to go to the back door.· I don't
   ·7· ·think I did.· I think I walked around, walked down the
   ·8· ·slope around.
   ·9· · · · Q.· · So you walked -- if you're -- if I get your
   10· ·testimony, you took your walker out of the back of the                         16:21
   11· ·car, and then you walked down the slope towards the
   12· ·sidewalk; correct?
   13· · · · A.· · Correct.
   14· · · · Q.· · And you followed the sidewalk; correct?
   15· · · · A.· · Yes.
   16· · · · Q.· · Towards that black pickup truck on your right;
   17· ·correct?
   18· · · · A.· · I don't -- I'm not sure what was a black                            16:21
   19· ·pickup truck or what was there.· All I know is I walked
   20· ·around -- down the slope to the -- to the sidewalk, and
   21· ·then I walked to the -- went through the front door.
   22· · · · Q.· · Went to the front door.· Is there anything
   23· ·about the front door that you remember?
   24· · · · A.· · Yeah, it was a little heavy to open.· It was a                      16:22
   25· ·little hard to open with my walker, but I had a silver


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   ·1· ·walker then, and it was a different kind.· And it
   ·2· ·catches.· That's why I got rid of it, it catches those
   ·3· ·mats.
   ·4· · · · Q.· · Got it.· And was it -- was there a step up
   ·5· ·into the front door?
   ·6· · · · A.· · I don't believe so.· No.
   ·7· · · · Q.· · So it was flat going right through; correct?
   ·8· · · · A.· · Yes.· Believe so.                                                   16:22
   ·9· · · · Q.· · So -- so -- so from the -- to get to the
   10· ·entrance from the sidewalk, you just had to open the door
   11· ·and walk right through; correct?
   12· · · · A.· · Yeah, I believe so, yeah.
   13· · · · Q.· · All right.· So when you walked in, what did
   14· ·you see?
   15· · · · A.· · Kind of dark in there.· I saw a bar on the
   16· ·left-hand side, and then I believe there were booths on
   17· ·the right-hand side, and I sat down on -- I think I may                        16:23
   18· ·have gone to the bar, sat on the bar.· I think I sat on
   19· ·the bar.· I don't know if it was a booth or not, but I
   20· ·ordered a Corona and -- and ordered a Corona beer and
   21· ·drank it.
   22· · · · Q.· · All right.· How long did you stay there?
   23· · · · A.· · Oh, I don't know, probably a half an hour.
   24· · · · Q.· · All right.· And then how did you -- strike
   25· ·that.· After you had your drink, what did you do?                              16:23


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   ·1· · · · A.· · I asked if I could go through the back door,
   ·2· ·and I went out the back door to my car.
   ·3· · · · Q.· · So which is the back door?
   ·4· · · · A.· · The back door is in the back where your
   ·5· ·disability parking is.
   ·6· · · · Q.· · Okay.· Is that the one we're staring at right
   ·7· ·now, Exhibit 29?                                                               16:24
   ·8· · · · A.· · Yes.
   ·9· · · · Q.· · Did you have any difficulty making your way
   10· ·towards the back of the Tiguan?
   11· · · · A.· · Yeah, with that slope, it caused me some
   12· ·difficulty, yes.
   13· · · · Q.· · All right.· So what sort of difficulty did it
   14· ·cause you?
   15· · · · A.· · Anxiety, frustration, pain.
   16· · · · Q.· · All right.· Let's start with anxiety.· Tell me                      16:24
   17· ·all about the anxiety that you experienced trying to make
   18· ·your way back to the back of the Volkswagen.
   19· · · · A.· · All of that slope at that -- at that angle, it
   20· ·makes it -- I get anxiety, I think I'm going to fall, and
   21· ·that day was a very bad day for me, so I get anxiety, I                        16:25
   22· ·think I'm going to fall, start sweating, my heart starts
   23· ·beating fast.
   24· · · · Q.· · All right.· And what's the other thing you
   25· ·said besides anxiety?


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   ·1· · · · A.· · Frustration.
   ·2· · · · Q.· · All right.· What was it that frustrated you?
   ·3· · · · A.· · I had to -- with that angle, that slope, it
   ·4· ·takes you off balance a little bit, and it's frustrating.                      16:25
   ·5· · · · Q.· · All right.· And what was the other thing that
   ·6· ·you mentioned?
   ·7· · · · A.· · Pain.
   ·8· · · · Q.· · Pain.· All right.· Tell me what sort of pain
   ·9· ·you experienced above and beyond the normal pain that
   10· ·you --
   11· · · · A.· · Well, my leg muscles are weak.· And when I
   12· ·have to maneuver, you know, up and down a slope, my legs,                      16:26
   13· ·the muscles have to work harder, so they -- I experience
   14· ·more pain.
   15· · · · Q.· · Okay.· Very well.· Now did you that day take
   16· ·any measurements of this place?
   17· · · · A.· · I believe when I came back out I did.
   18· · · · Q.· · All right.· And tell me, let's start with the
   19· ·accessible parking space.· What was the slope on that?                         16:26
   20· · · · A.· · On the accessible, on the -- I believe it was
   21· ·at nine something.· Nine -- nine -- nine inches and
   22· ·something.· So I'm not -- you know, I believe it was.
   23· · · · Q.· · Okay.· We're talking about where -- right
   24· ·below where your car was parked.· Okay?
   25· · · · A.· · Yeah.


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   ·1· · · · Q.· · We're talking about the ground under the car.                       16:27
   ·2· ·What was the slope --
   ·3· · · · A.· · Oh, I didn't take measurements of that.           I
   ·4· ·took of the accessible space next to it.
   ·5· · · · Q.· · So you --
   ·6· · · · A.· · That's where I experienced the problems.
   ·7· · · · Q.· · So you took a measurement of the access aisle
   ·8· ·slope; is that correct?
   ·9· · · · A.· · Right.
   10· · · · Q.· · Was your car centered right within the
   11· ·parking --
   12· · · · A.· · Yes.
   13· · · · Q.· · -- space?
   14· · · · A.· · Yes.
   15· · · · Q.· · You hadn't parked past the line past -- past                        16:27
   16· ·the limit into the access aisle; had you?
   17· · · · A.· · No.
   18· · · · Q.· · All right.· So how far away were your tires
   19· ·from the blue line?
   20· · · · A.· · Tires within -- within the two blue lines of
   21· ·the disability space.
   22· · · · Q.· · Did you have at least maybe six inches of                           16:28
   23· ·clearance between the blue line and your tires?
   24· · · · A.· · Yeah, maybe at least six, maybe eight.           I
   25· ·don't know.· Something like that.


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   ·1· · · · Q.· · All right.· Okay.· So you measured the slope
   ·2· ·on the access aisle.· Did you measure every corner of the
   ·3· ·access aisle or did you just --?· What did you do?
   ·4· · · · A.· · I just took a random space and saw what the                         16:28
   ·5· ·measurements were and took a picture of it.
   ·6· · · · Q.· · You have those pictures?
   ·7· · · · A.· · They are somewhere here.· I'm not sure.          I
   ·8· ·don't have pictures of them.
   ·9· · · · Q.· · Well, you --
   10· · · · A.· · Yeah.
   11· · · · Q.· · You took pictures using your phone I'm going
   12· ·to assume; right?
   13· · · · A.· · That's correct.
   14· · · · Q.· · All right.· What did you do with those
   15· ·pictures?
   16· · · · A.· · I deleted them after I sent them to the                             16:29
   17· ·attorney.
   18· · · · Q.· · Why would you want to delete them?
   19· · · · A.· · I -- I don't need them after I send them to
   20· ·the attorney.· I don't have any use for them.
   21· · · · Q.· · Did you email them?
   22· · · · A.· · Yes.
   23· · · · Q.· · All right.· So as you're staring at this
   24· ·photograph -- and I'm going to have Audrey expand the                          16:29
   25· ·center portion.· All right?· That's good, Audrey.· Thank


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   ·1· ·you.
   ·2· · · · · · · What part of the access aisle did you measure?                      16:30
   ·3· ·For instance, let's start with -- you see where the door
   ·4· ·is.· Did you measure near the door?
   ·5· · · · A.· · Probably -- I think I measured right past the
   ·6· ·door on the right-hand side for sloping down.
   ·7· · · · Q.· · Okay.· So right hand as we're looking at it.
   ·8· ·So towards the wall that does not have the Irish Pub                           16:30
   ·9· ·sign; correct?
   10· · · · A.· · That's correct.
   11· · · · Q.· · Near the window; correct?
   12· · · · A.· · I don't know if there's a window there, but --
   13· · · · Q.· · Well, can you --
   14· · · · A.· · Yeah.
   15· · · · Q.· · -- look at the photograph.· Do you see the
   16· ·window?
   17· · · · A.· · I -- she enlarged it.· Yeah, right -- yeah, I
   18· ·don't -- can't see the window.· I can't see it.· She
   19· ·enlarged it, so...
   20· · · · Q.· · All right.                                                          16:31
   21· · · · A.· · Is that a window?· I can't tell.· It's dark.
   22· ·Yeah.· Maybe that is.
   23· · · · Q.· · She's going to blow it up some more here so
   24· ·you can see the window.
   25· · · · A.· · I see it.


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   ·1· · · · Q.· · Okay.· Very good.
   ·2· · · · A.· · It was before the window.
   ·3· · · · Q.· · So it was on the window side that you took
   ·4· ·slope measurements; is that correct?
   ·5· · · · A.· · Right, within the access aisle, yeah.
   ·6· · · · Q.· · So I want you to avoid saying "right" because
   ·7· ·it's confusing.· It's a directional thing.· So I want you                      16:31
   ·8· ·to say correct.· You got it?
   ·9· · · · A.· · I understand.
   10· · · · Q.· · All right.· So you took a slope measurement at
   11· ·the access aisle closer to the window; is that correct?
   12· · · · A.· · Correct.
   13· · · · Q.· · All right.· Now what did you measure in terms
   14· ·of slope?
   15· · · · A.· · I measured the slope of the access aisle.                           16:32
   16· · · · Q.· · Understood.· What was your read?
   17· · · · A.· · Nine point something.
   18· · · · Q.· · Nine percent?
   19· · · · A.· · Nine point -- yeah, nine percent and some
   20· ·change.· I don't know what the change was.
   21· · · · Q.· · All right.· How far away were you from the
   22· ·wall?
   23· · · · A.· · Oh, a couple -- couple feet.                                        16:32
   24· · · · Q.· · Okay.· Did you take any measurements further
   25· ·away from the wall?


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   ·1· · · · A.· · I just took one measurement.
   ·2· · · · Q.· · Can you tell me how far away from the wall you
   ·3· ·were?
   ·4· · · · A.· · I -- I can't tell because I don't have those
   ·5· ·pictures.· But I would -- I'm -- for me to guess if --.                        16:33
   ·6· ·I can't tell you.· I just don't know how far I was away
   ·7· ·from the wall.
   ·8· · · · Q.· · Did you take a photograph of the device that
   ·9· ·was placed on the ground like you did in previous
   10· ·photographs?
   11· · · · A.· · Yes.
   12· · · · Q.· · And you only took one measurement; is that
   13· ·your testimony?
   14· · · · A.· · Yes, that's -- I took one measurement.
   15· · · · Q.· · All right.· What about on the left side of the
   16· ·access aisle near the Irish Pub sign?                                          16:33
   17· · · · A.· · I didn't take any -- I don't believe I took
   18· ·any pictures or I measured anywhere near there.
   19· · · · Q.· · Is there a reason why?
   20· · · · A.· · I -- well, I didn't have a problem I -- when I
   21· ·went down.· The slope is when I had a -- started having                        16:34
   22· ·problems, so I didn't have no reason to measure that.
   23· · · · Q.· · So as you're looking at this access aisle, you
   24· ·are telling me you went through the front door, and then
   25· ·you exited the bar through the back door, and you


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   ·1· ·experienced the slope at the access aisle; correct?
   ·2· · · · A.· · Correct.
   ·3· · · · Q.· · Is there a reason why you didn't exit through
   ·4· ·the front door?                                                                16:34
   ·5· · · · A.· · Well, I want to get the shortest distance from
   ·6· ·me to my car.
   ·7· · · · Q.· · Well, if that were the case, why didn't you go
   ·8· ·in through the back door in the first place?
   ·9· · · · A.· · Because I didn't know if it was locked or not.
   10· ·You know, I didn't think it was locked, so I -- like you
   11· ·said, when I went down that slope, I noticed that it
   12· ·was -- you know, it was steep, and I noticed it was                            16:35
   13· ·giving me difficulty.
   14· · · · Q.· · So you just testified a moment ago that part
   15· ·of the access aisle did not give you any difficulty;
   16· ·correct?
   17· · · · MR. HASHEMI:· Objection, misstates prior testimony.
   18· · · · Q.· · BY MR. SAHELIAN:· And that that was the reason
   19· ·why you didn't measure that portion?
   20· · · · A.· · Correct.
   21· · · · Q.· · So as you exited the door here, what part of
   22· ·the access aisle did you follow --                                             16:36
   23· · · · A.· · I think that --
   24· · · · Q.· · Let me finish.· As you exited the door, what
   25· ·part of the access aisle did you follow to get to the


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   ·1· ·back of your car?· Was it the part that was closer to
   ·2· ·your car or the part that was away from your car?
   ·3· · · · A.· · The way the door opened, you're at the bottom                       16:36
   ·4· ·of the access aisle.· Or at the -- the way the door
   ·5· ·opens, you walk on the bottom of the access aisle.
   ·6· · · · Q.· · You mean at the center?
   ·7· · · · MR. HASHEMI:· Objection, misstates testimony,
   ·8· ·argumentative, and leading.
   ·9· · · · Q.· · BY MR. SAHELIAN:· So would you --
   10· · · · A.· · When you open the door, the door opens this
   11· ·way, and you're going on the bottom of the access aisle.
   12· · · · Q.· · All right.· What did you do after the door                          16:36
   13· ·closed?
   14· · · · A.· · I went to my car.
   15· · · · Q.· · No.· Slow down.· Slow down.· Which direction
   16· ·did you walk when the door closed?
   17· · · · A.· · I walked towards my car.
   18· · · · Q.· · All right.· So would it be fair to say that
   19· ·you took the shortest distance towards your car; correct?
   20· · · · MR. HASHEMI:· Objection, leading, lacks foundation.                       16:37
   21· · · · THE WITNESS:· The way the door opens, you have --
   22· ·you're going to go through the bottom, and I -- I took
   23· ·the bottom to my car.· To the access aisle.
   24· · · · Q.· · BY MR. SAHELIAN:· Okay.· So once the door
   25· ·closed, did you walk the shortest distance towards your


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   ·1· ·car?· Strike that.
   ·2· · · · A.· · No, I did not.
   ·3· · · · Q.· · Let me -- let me rephrase it.· Did you use the                      16:37
   ·4· ·shortest distance possible to walk towards your car?
   ·5· · · · A.· · No, I did not.
   ·6· · · · Q.· · What would be the reason you didn't?
   ·7· · · · A.· · Because when I walked out the door, I noticed
   ·8· ·the slope on the -- was -- was quite bad.· And so I
   ·9· ·walked down there, took -- around my car using the                             16:38
   10· ·bottom, and then I went and got my level to see what it
   11· ·was.
   12· · · · Q.· · So, I'm sorry, you have me confused,
   13· ·Mr. Shayler, so I'm going to have to break this down.
   14· ·And I'm not as talented as your attorney is asking these
   15· ·questions.· So let me go one step at a time.                                   16:38
   16· · · · · · · The door closed.· Now, are you -- which
   17· ·direction are you facing?· Are you facing towards your
   18· ·car or are you facing towards the sidewalk?
   19· · · · A.· · When I exit the door, I'm facing towards the
   20· ·end of the access aisle, on the bottom part.
   21· · · · Q.· · All right.· So you're looking down the access
   22· ·aisle as you exit the door; is that correct?
   23· · · · A.· · Yes.                                                                16:39
   24· · · · Q.· · All right.· So the door closes.· Which
   25· ·direction are you facing?


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   ·1· · · · A.· · Away from the Irish Pub sign.
   ·2· · · · Q.· · So are you facing down the access aisle?· Are
   ·3· ·you facing --
   ·4· · · · A.· · I'm facing down the access aisle, correct.
   ·5· · · · Q.· · Through the center line of the access aisle;                        16:39
   ·6· ·is that correct?
   ·7· · · · A.· · The bottom of the access aisle.
   ·8· · · · Q.· · I see.· Okay.· Do you see the center line of
   ·9· ·the access aisle?· You see there's a concrete break
   10· ·there.· Do you see it?
   11· · · · A.· · Yeah.
   12· · · · Q.· · There's a thin line?
   13· · · · A.· · Yeah.
   14· · · · Q.· · All right.
   15· · · · A.· · When I exited the door, I did not walk through
   16· ·that.
   17· · · · MR. HASHEMI:· Objection.· Objection to the extent
   18· ·that the statement stands for the proposition that that                        16:40
   19· ·line is in the center of the access aisle.
   20· · · · · · · But otherwise, go ahead.
   21· · · · THE WITNESS:· Once you open, you're going to walk on
   22· ·the bottom of the access aisle, way the door opens.
   23· · · · Q.· · BY MR. SAHELIAN:· I hear you, Mr. Shayler, I
   24· ·hear you.· Now you are staring down the access aisle.
   25· ·You would agree with me that your car is to your right;


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   ·1· ·correct?
   ·2· · · · A.· · Right.
   ·3· · · · Q.· · So now do you turn towards your car?
   ·4· · · · A.· · I just walked straight to the end of the                            16:40
   ·5· ·access aisle, and then I went around to my car.
   ·6· · · · Q.· · So which side of the access aisle did you use
   ·7· ·to walk down the access aisle?· Did you use the part
   ·8· ·closer to your car or did you use the part away from your
   ·9· ·car?
   10· · · · A.· · Because of how the door opens, I was at the
   11· ·bottom of the access aisle.
   12· · · · MR. SAHELIAN:· Madam Court Reporter --                                    16:41
   13· · · · THE WITNESS:· Where the door opens.
   14· · · · MR. SAHELIAN:· Madam Court Reporter, would you
   15· ·please read my question.
   16· · · · · · · (The record was read as follows:
   17· · · · · · · · "So which side of the access aisle did you                        16:41
   18· · · · · · use to walk down the access aisle?· Did you use
   19· · · · · · the part closer to your car or did you use the
   20· · · · · · part away from your car?")
   21· · · · MR. HASHEMI:· Mr. Shayler, I think what counsel is
   22· ·trying to ask you is whether you walked down the side                          16:41
   23· ·that is clearly sloped towards the street or the side
   24· ·that seems to be sloped the opposite direction.
   25· · · · THE WITNESS:· The opposite direction.


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   ·1· · · · Q.· · BY MR. SAHELIAN:· So you were --
   ·2· · · · A.· · The way the door opens, you're going to be
   ·3· ·kind of on the right-hand side of that access aisle.
   ·4· · · · Q.· · Okay.· So your attorney skillfully understood
   ·5· ·what I was trying to get you to answer.· So let me ask                         16:42
   ·6· ·you again.· When you were walking towards the back of
   ·7· ·your car, were you close to your car and were you
   ·8· ·following the side of your car?
   ·9· · · · MR. HASHEMI:· Objection, vague.
   10· · · · THE WITNESS:· Again, the way the door opens, I was                        16:42
   11· ·at the bottom of the access aisle walking towards the end
   12· ·of my car.
   13· · · · Q.· · BY MR. SAHELIAN:· All right.· So --
   14· · · · A.· · Where it slopes down.
   15· · · · Q.· · Did you walk diagonally towards the back of
   16· ·your car or did you head directly towards your car and
   17· ·following the side of your car?
   18· · · · A.· · I walked straight to the end of the access
   19· ·aisle, and then I walked to the back of my car.                                16:43
   20· · · · Q.· · Oh, I see.· Okay.· So you made sure that you
   21· ·were on the sloped side of the access aisle all the way
   22· ·down?· You made sure -- you made sure that you stayed on
   23· ·the sloped side until you got to the end of the access
   24· ·aisle, and then you made a turn, a right turn, and headed
   25· ·to the back of your Volkswagen; correct?


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   ·1· · · · A.· · Right.                                                              16:43
   ·2· · · · MR. HASHEMI:· Objection, misstates prior testimony,
   ·3· ·argumentative.
   ·4· · · · · · · Go ahead, Mr. Shayler.
   ·5· · · · THE WITNESS:· The way the door opens, you're at the
   ·6· ·bottom of the sloped side of the, um, access aisle.· And
   ·7· ·I walked straight to the end, and then I cut over to my
   ·8· ·car.
   ·9· · · · Q.· · BY MR. SAHELIAN:· All right.· So you see that
   10· ·our two blue lines there in the access aisle --
   11· ·correct? -- there's the one next to the window; right?
   12· ·Do you see it?
   13· · · · A.· · Right.
   14· · · · Q.· · And there's the one that is next to your car;                       16:44
   15· ·correct?
   16· · · · A.· · Right.
   17· · · · Q.· · Or if your car were there.
   18· · · · A.· · Right.
   19· · · · Q.· · So you followed the blue line closest to the
   20· ·window, and you walked straight down that blue line, and
   21· ·then you made a 90-degree turn and walked towards the
   22· ·back of your car; correct?
   23· · · · A.· · Right, because the back of my car was right
   24· ·there, so I just walked straight to the back, yes.                             16:44
   25· · · · Q.· · So I want to make sure that I have this down


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   ·1· ·correctly.· Because once again, I asked you not to use
   ·2· ·the word right, and you used the word right.· So please
   ·3· ·don't do that.
   ·4· · · · · · · You exited the door, you allowed the door to
   ·5· ·close, and then you followed the blue line that was
   ·6· ·closest to the window all the way down, and then you made                      16:45
   ·7· ·a right turn and headed straight to the back of your car;
   ·8· ·is that correct?
   ·9· · · · MR. HASHEMI:· Objection, leading, argumentative,
   10· ·misstates prior testimony, asked and answered.
   11· · · · · · · Go ahead, Mr. Shayler.
   12· · · · THE WITNESS:· Yes.· That's correct.
   13· · · · Q.· · BY MR. SAHELIAN:· All right.· So was there a
   14· ·reason after the door closed that you did not walk                             16:45
   15· ·towards your car following the wall, following the wall,
   16· ·that you did not walk towards your car immediately?
   17· · · · A.· · Because of the slope, I walked to the end of
   18· ·the access aisle, and then I went to my car.· The way the                      16:46
   19· ·door opens, you're at the bottom -- you're at the bottom
   20· ·part of the access aisle by the window, and I walked
   21· ·straight out, and then I exited my -- put my walker away.
   22· · · · Q.· · I understand, Mr. Shayler.· I perfectly
   23· ·understand.· And you've told me what you did because of                        16:46
   24· ·the slope.· I understand that.· You don't have to repeat
   25· ·that.· My question is different.· So please hear me out.


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   ·1· · · · · · · When the door closed, was there a reason why
   ·2· ·you didn't turn your walker to face the car and walk
   ·3· ·along the wall and the door so you could be on the other
   ·4· ·side of the access aisle that is flat?                                         16:47
   ·5· · · · MR. HASHEMI:· Objection, lacks foundation,
   ·6· ·argumentative to the extent that the statements or the
   ·7· ·inquiry suggests that the other side of the access aisle
   ·8· ·is flat.
   ·9· · · · · · · You can answer the question if you understand
   10· ·it, Mr. Shayler.
   11· · · · THE WITNESS:· There's no -- there's no reason I
   12· ·put -- I walked to the end of my car because that's where
   13· ·I keep my walker.· And I put my walker away.                                   16:48
   14· · · · MR. SAHELIAN:· I'm going to have Madam Court
   15· ·Reporter reread my question.
   16· · · · · · · (The record was read as follows:
   17· · · · · · · · "When the door closed, was there a reason                         16:47
   18· · · · · · why you didn't turn your walker to face the car
   19· · · · · · and walk along the wall and the door so you
   20· · · · · · could be on the other side of the access aisle
   21· · · · · · that is flat?")                                                       16:47
   22· · · · THE WITNESS:· Again, my answer is I go to the back
   23· ·of the car because that's where I keep my walker.· I was                       16:48
   24· ·going to put it away.
   25· · · · Q.· · BY MR. SAHELIAN:· You did testify,


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   ·1· ·Mr. Shayler, if I remember a few moments ago -- I should
   ·2· ·say a few minutes ago -- that the portion of the access                        16:48
   ·3· ·aisle that was closest to the car was flat, and that's
   ·4· ·why you didn't take a measurement there.· Wasn't that
   ·5· ·your testimony?· Or do I have it wrong?
   ·6· · · · A.· · No, I took a measurement where the slope was
   ·7· ·because that's where I walked and was giving me problems.
   ·8· · · · Q.· · All right.· Apparently you misunderstood                            16:49
   ·9· ·your -- or you forgot your testimony, but that's fine.
   10· · · · · · · So let me ask you this:· You've filed over ten
   11· ·cases in the past 12 months; correct?                                          16:49
   12· · · · MR. HASHEMI:· Objection, lacks foundation,
   13· ·argumentative, vague.
   14· · · · · · · Go ahead.
   15· · · · THE WITNESS:· Yes.
   16· · · · Q.· · BY MR. SAHELIAN:· Do you understand what the
   17· ·frequent filer status is in the ADA world?
   18· · · · A.· · Yes.
   19· · · · Q.· · What do you understand it to be?
   20· · · · A.· · Someone that files more than a certain amount                       16:50
   21· ·of cases a year.
   22· · · · Q.· · What would that number be?
   23· · · · A.· · I do not know.· Maybe 20.
   24· · · · Q.· · All right.· So you also understand that there
   25· ·are certain facts that you have to provide when you file


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   ·1· ·these lawsuits, so I'll ask you to give me answers to                          16:50
   ·2· ·those facts since they were absent from the Complaint.
   ·3· · · · · · · Number one, have you ever been to this Irish
   ·4· ·bar before the 15th of September of 2021?                                      16:51
   ·5· · · · A.· · No.
   ·6· · · · Q.· · Have you since gone back?
   ·7· · · · A.· · My lawyer hasn't told me to go back yet.
   ·8· · · · Q.· · That wasn't my question.· Answer my question.
   ·9· · · · A.· · I plan on returning.                                                16:51
   10· · · · Q.· · That wasn't my question.
   11· · · · A.· · Please repeat your question.
   12· · · · MR. SAHELIAN:· Madam Court Reporter?
   13· · · · · · · (The record was read as follows:
   14· · · · · · · · "Have you since gone back?")                                      16:51
   15· · · · THE WITNESS:· No.                                                         16:52
   16· · · · Q.· · BY MR. SAHELIAN:· What was the reason you were                      16:52
   17· ·in the neighborhood?
   18· · · · MR. HASHEMI:· Objection, asked and answered.
   19· · · · THE WITNESS:· I was in Long Beach.
   20· · · · Q.· · BY MR. SAHELIAN:· How far away is Long Beach
   21· ·from this place?
   22· · · · A.· · A few exits up.
   23· · · · Q.· · How many Irish bars are there between Long
   24· ·Beach and this place?                                                          16:52
   25· · · · MR. HASHEMI:· That calls for speculation.


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   ·1· · · · Q.· · BY MR. SAHELIAN:· Do you know?
   ·2· · · · A.· · I -- I have no idea.
   ·3· · · · Q.· · All right.· How many bars are there between
   ·4· ·Long Beach and this place?
   ·5· · · · MR. HASHEMI:· Calls for speculation.
   ·6· · · · THE WITNESS:· I have no idea.
   ·7· · · · Q.· · BY MR. SAHELIAN:· Have you ever been to any
   ·8· ·bar in Long Beach?
   ·9· · · · A.· · No.
   10· · · · Q.· · Have you ever been to any bar between this
   11· ·place and Long Beach?                                                          16:53
   12· · · · A.· · Yes.
   13· · · · Q.· · Where?
   14· · · · A.· · I don't remember which bars I went to.
   15· · · · Q.· · Have you ever sued any bars between this place
   16· ·and Long Beach?
   17· · · · A.· · Not that I recall.                                                  16:53
   18· · · · Q.· · Okay.· But you've been to a bar between this
   19· ·place and Long Beach; correct?
   20· · · · A.· · Yes, I have.
   21· · · · Q.· · Why didn't you go back there?
   22· · · · A.· · Because I took an exit off the freeway, and I
   23· ·ended up right there, and I saw an Irish Pub, and I
   24· ·wanted to have a beer.                                                         16:54
   25· · · · Q.· · All right.· What exit was it that you took?


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   ·1· · · · A.· · I do not remember.
   ·2· · · · Q.· · Why did you take that exit?
   ·3· · · · A.· · Because I wanted to have a beer.
   ·4· · · · Q.· · And what was it about that exit that screamed
   ·5· ·beer for you?
   ·6· · · · MR. HASHEMI:· Objection, lacks foundation,
   ·7· ·argumentative.
   ·8· · · · Q.· · BY MR. SAHELIAN:· Did it say a beer here with
   ·9· ·a sign that said exit the freeway for beer?
   10· · · · MR. HASHEMI:· (Laughter.)
   11· · · · THE WITNESS:· I was in Lawndale, and I took an exit                       16:54
   12· ·and ended up right here.
   13· · · · Q.· · BY MR. SAHELIAN:· I've now --.· Okay, so you
   14· ·remember it said Lawndale.· Correct?
   15· · · · A.· · Off the freeway it said Lawndale, yeah.
   16· · · · Q.· · Okay.· What was it about Lawndale that
   17· ·triggered your need for a beer?
   18· · · · A.· · I was having a stressful day that day, and I
   19· ·decided I wanted a beer.
   20· · · · Q.· · So when did you formulate the idea of exiting                       16:55
   21· ·at the Lawndale exit to have a beer?
   22· · · · MR. HASHEMI:· Argumentative.
   23· · · · THE WITNESS:· 405, when I was on the 405 Freeway.
   24· · · · Q.· · BY MR. SAHELIAN:· So you were on the 405
   25· ·Freeway, and you're driving along, and you thought of


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   ·1· ·beer, and you saw the Lawndale exit, and you said, "This
   ·2· ·is where I'm going to find an Irish Pub"?· Is that how it                      16:55
   ·3· ·worked?
   ·4· · · · A.· · No, I just looking for a bar to have a beer.
   ·5· · · · Q.· · All right, and what exit do you take off the
   ·6· ·405 to get to your house?
   ·7· · · · A.· · Jefferson.
   ·8· · · · Q.· · All right.· So how many exits is Lawndale from
   ·9· ·Jefferson?
   10· · · · MR. HASHEMI:· Calls for speculation.
   11· · · · Q.· · BY MR. SAHELIAN:· Roughly.
   12· · · · MR. HASHEMI:· Calls for speculation.
   13· · · · THE WITNESS:· Maybe 20?· I don't know.
   14· · · · Q.· · BY MR. SAHELIAN:· All right.· Why did you not                       16:56
   15· ·pick any other exit?
   16· · · · A.· · I don't know.· I just took that exit and ended
   17· ·up there.
   18· · · · Q.· · All right.· So have you been to any bars next
   19· ·to where you live?
   20· · · · A.· · Yes.
   21· · · · Q.· · Where?
   22· · · · A.· · On the corner of Jefferson, across the street
   23· ·from --                                                                        16:57
   24· · · · Q.· · I'm sorry, I --
   25· · · · A.· · Jack --


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   ·1· · · · Q.· · -- didn't understand that last part.
   ·2· · · · A.· · Across the street from Jack-In-The-Box,
   ·3· ·there's a bar that I've gone once there and had a beer.
   ·4· · · · Q.· · Only once?
   ·5· · · · A.· · Yes.
   ·6· · · · Q.· · Did you sue them?
   ·7· · · · A.· · No.
   ·8· · · · Q.· · Why didn't you go back there?
   ·9· · · · A.· · Because I wanted a beer, and I was quite a few                      16:57
   10· ·exits from there.
   11· · · · Q.· · Do you normally drink and drive?
   12· · · · A.· · Only one beer, so I'm within the limits.
   13· · · · Q.· · That wasn't my question.
   14· · · · A.· · No, I do not normally drink and drive.
   15· · · · Q.· · Okay.· Were you taking pain medication at the
   16· ·time?
   17· · · · A.· · No.
   18· · · · Q.· · This was in September of 2021.· Were you not
   19· ·on -- under pain medication at the time?                                       16:58
   20· · · · A.· · No, I was not.
   21· · · · MR. HASHEMI:· Objection, asked and answered.
   22· · · · Q.· · BY MR. SAHELIAN:· Were you taking any pain
   23· ·medication in September of 2021?
   24· · · · A.· · No.
   25· · · · MR. HASHEMI:· Objection, asked and answered,


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   ·1· ·leading.
   ·2· · · · THE WITNESS:· No.
   ·3· · · · Q.· · BY MR. SAHELIAN:· You sure?
   ·4· · · · A.· · Yes.
   ·5· · · · Q.· · Remember, you're -- you're -- you're                                16:58
   ·6· ·testifying as if you were in court.
   ·7· · · · A.· · Right.
   ·8· · · · Q.· · Were you experiencing any pain at all on the
   ·9· ·15th of September of 2021?
   10· · · · A.· · Yes.
   11· · · · Q.· · But you were taking no pain medication that
   12· ·day?
   13· · · · A.· · I was not.
   14· · · · Q.· · How often do you stop for a beer?                                   16:58
   15· · · · MR. HASHEMI:· Objection, vague.
   16· · · · THE WITNESS:· Not very often.
   17· · · · Q.· · BY MR. SAHELIAN:· All right.· So besides this
   18· ·place and that place that you mentioned next to your
   19· ·house, what was the name of that place next to your
   20· ·house?
   21· · · · A.· · I'm not sure of the name of the bar next to my
   22· ·house.· It's on the -- it's on Jefferson, and it --                            16:59
   23· ·there's a Jack-In-The-Box across the street from it.
   24· · · · Q.· · Okay.· Besides these two bars, what other bars
   25· ·have you been to?


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   ·1· · · · A.· · Between Lawndale and Long Beach, I've stopped
   ·2· ·at a bar one time there some few years back.
   ·3· · · · Q.· · How far back?
   ·4· · · · A.· · Maybe -- maybe -- I don't know, maybe six
   ·5· ·months ago, something like that.                                               16:59
   ·6· · · · Q.· · Did you sue the place?
   ·7· · · · MR. HASHEMI:· Aren't we going on overtime if we're
   ·8· ·going to talk about bars for the balance of this
   ·9· ·deposition?
   10· · · · Q.· · BY MR. SAHELIAN:· Did you sue the place?
   11· · · · A.· · No.
   12· · · · Q.· · What was the name of the bar?
   13· · · · A.· · I don't remember.
   14· · · · Q.· · Do you remember what street it was on?
   15· · · · A.· · No, I do not remember what street it was on.
   16· · · · Q.· · So would it be fair to say --?· Well, I'm                           17:00
   17· ·going to ask you flat-out here.· In the past year, how
   18· ·many times have you been to a bar?
   19· · · · A.· · Maybe three times.
   20· · · · Q.· · How many?
   21· · · · A.· · Three.
   22· · · · Q.· · Okay.· Name the three places.
   23· · · · A.· · Irish Pub is one of them.· I think it's called
   24· ·The Sly Fox or something like that.· The other ones I                          17:00
   25· ·can't remember.


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   ·1· · · · Q.· · You have no recollection at all?
   ·2· · · · A.· · No, I do not.
   ·3· · · · Q.· · What about the year prior?· How many bars you
   ·4· ·go to in -- why don't we say -- why don't we say between
   ·5· ·September of 2021 and September of 2020, how many bars
   ·6· ·you go to?
   ·7· · · · A.· · Didn't go to any bars that year.                                    17:01
   ·8· · · · Q.· · For the entire year.
   ·9· · · · A.· · (No response.)
   10· · · · Q.· · What about between September of 2020 and
   11· ·September of 2019, how many bars you go to?
   12· · · · A.· · Couldn't tell you.· Don't remember.
   13· · · · MR. HASHEMI:· You're getting a little harassing,
   14· ·counsel.
   15· · · · Q.· · BY MR. SAHELIAN:· And prior to that, September
   16· ·of 2019 to September of 2018, how many bars did you go                         17:01
   17· ·to?
   18· · · · A.· · Don't remember.
   19· · · · MR. SAHELIAN:· Do you need a break?· I have another
   20· ·15 minutes to go roughly.
   21· · · · MR. HASHEMI:· Yes.· Yeah, let's take a break?                             17:02
   22· · · · THE WITNESS:· Yeah.
   23· · · · MR. SAHELIAN:· Okay.
   24· · · · · · · (Recess.)
   25· · · · MR. SAHELIAN:· All right.· Ready to finish up?


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   ·1· · · · MR. HASHEMI:· Yeah, let's do it.
   ·2· · · · Q.· · BY MR. SAHELIAN:· All right.· Mr. Shayler, you                      17:02
   ·3· ·sued a company called 10616 Pico, which I will submit
   ·4· ·were depicted in the photograph where you stepped up and
   ·5· ·down the steps and you had your orange Tiguan.· Did you                        17:10
   ·6· ·ever go back to that place?
   ·7· · · · A.· · On Pico?
   ·8· · · · Q.· · 10616 Pico.· Yeah, that's the location.
   ·9· · · · A.· · Yes, I've been back there.· The market?
   10· · · · Q.· · Yes.
   11· · · · A.· · Yeah.
   12· · · · Q.· · You sued a business on 10526 West Pico in                           17:11
   13· ·December of 2020.· Did you ever go back there?
   14· · · · A.· · Yes, I've been back to there, uh-huh.
   15· · · · Q.· · What did you do when you went back?
   16· · · · A.· · To see if they corrected the barriers.
   17· · · · Q.· · Did you buy anything?
   18· · · · A.· · Yes, I -- I bought something.
   19· · · · Q.· · You don't remember what?                                            17:11
   20· · · · A.· · Huh-uh, I don't remember what.· But they
   21· ·corrected it.
   22· · · · Q.· · All right.· You sued a doctor called Gary
   23· ·Lazarus, OD; do you remember?
   24· · · · A.· · Yes.
   25· · · · Q.· · At 806 Manhattan Beach Boulevard?· Did you go                       17:12


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   ·1· ·back to use his services?
   ·2· · · · A.· · I'm currently still seeing that doctor, yes.
   ·3· · · · Q.· · When was the last time you saw him?
   ·4· · · · A.· · Probably six months ago.
   ·5· · · · MR. SAHELIAN:· That last exhibit was Exhibit 29, so                       17:13
   ·6· ·we're done with the exhibits, Audrey.· Thank you.
   ·7· · · · Q.· · Has that lawsuit resolved against Gary                              17:13
   ·8· ·Lazarus?
   ·9· · · · A.· · The doctor?
   10· · · · Q.· · Well, it's Gary M. Lazarus, OD.· I don't know
   11· ·what that is.
   12· · · · A.· · Yeah, that's --.· Yeah.
   13· · · · Q.· · And you saw him six months ago?
   14· · · · A.· · Yes.
   15· · · · Q.· · And why did you sue him?
   16· · · · A.· · Because the slope was greater than it should                        17:13
   17· ·have been.
   18· · · · Q.· · Did he fix it?
   19· · · · A.· · Yes.· The owner of the buildings fixed it,
   20· ·yes.
   21· · · · Q.· · Did you sue a restaurant called Isako Nam?
   22· · · · A.· · I'd have to see what their address is.
   23· · · · Q.· · 1019 Manhattan Boulevard.                                           17:14
   24· · · · A.· · Manhattan Beach -- yeah, Manhattan Boulevard?
   25· ·Yes.


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   ·1· · · · Q.· · Did that case resolve?
   ·2· · · · A.· · That case resolved.
   ·3· · · · Q.· · Did you go back there?
   ·4· · · · A.· · Yes, I did.
   ·5· · · · Q.· · What did you do?
   ·6· · · · A.· · I ordered some -- I ordered a coke, and they
   ·7· ·had fixed their barriers.
   ·8· · · · Q.· · Did you keep a receipt?
   ·9· · · · A.· · I sent it to my attorney.                                           17:14
   10· · · · Q.· · That wasn't my question.
   11· · · · A.· · I didn't keep a receipt, no.
   12· · · · Q.· · Did you sue a place the address to which is
   13· ·1617 La -- La Brea?
   14· · · · A.· · La Brea?· La Brea Avenue, yes.
   15· · · · Q.· · Did that case resolve?                                              17:15
   16· · · · A.· · No, it hasn't.
   17· · · · Q.· · Did you sue a Pep Boys Manny Moe & Jack on
   18· ·Ventura Boulevard in Studio City?
   19· · · · A.· · That's still pending.
   20· · · · Q.· · So you drove all the way to Studio City to sue
   21· ·a Manny Moe & Jack?· Were there none in -- near where you                      17:15
   22· ·live?
   23· · · · MR. HASHEMI:· Objection, argumentative, lacks
   24· ·foundation.· Vague.
   25· · · · THE WITNESS:· No, I -- I was over there doing Studio


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   ·1· ·City doing something.· I had problems with my tires.
   ·2· · · · Q.· · BY MR. SAHELIAN:· And so what did you buy?
   ·3· · · · A.· · I -- I don't know what I bought there or if I
   ·4· ·bought anything.· I think I just got a business card, and                      17:16
   ·5· ·I had them look at my tires.
   ·6· · · · Q.· · So did you sue a liquor store on 11312 Ventura
   ·7· ·Boulevard in Studio City?
   ·8· · · · A.· · That one's still pending.
   ·9· · · · Q.· · Did you go back there?
   10· · · · A.· · I haven't gone back there yet, no.
   11· · · · Q.· · Okay.· Did you sue a Sushi Nozawa, again in                         17:16
   12· ·Studio City, 11288 Ventura?
   13· · · · A.· · That -- on Ventura Boulevard?
   14· · · · Q.· · Yes.
   15· · · · A.· · That one's still pending on Ventura Boulevard.
   16· · · · Q.· · Have you been back there?
   17· · · · A.· · No, I have not.
   18· · · · Q.· · Did you sue a gas station at 1934 Cahuenga?                         17:17
   19· · · · A.· · A Chevron station?
   20· · · · Q.· · I can't tell you.· It's 1934 Cahuenga?
   21· · · · A.· · I'm not sure.
   22· · · · Q.· · You remember all the other places you sued
   23· ·that you visited in September of 2021?                                         17:17
   24· · · · A.· · No, I don't.
   25· · · · MR. HASHEMI:· Objection, compound.


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   ·1· · · · · · · Go ahead.
   ·2· · · · THE WITNESS:· No, I don't.
   ·3· · · · Q.· · BY MR. SAHELIAN:· Do you remember the places
   ·4· ·that you visited in September of 2021 that you ended up
   ·5· ·suing?
   ·6· · · · MR. HASHEMI:· Objection, lacks foundation,
   ·7· ·argumentative.· Compound.                                                      17:18
   ·8· · · · · · · Go ahead.
   ·9· · · · THE WITNESS:· No, I don't.
   10· · · · Q.· · BY MR. SAHELIAN:· Do you remember visiting a
   11· ·property at 10200 Hawthorne Boulevard in Inglewood in
   12· ·September of 2021?
   13· · · · A.· · No, I don't remember.
   14· · · · Q.· · Do you remember visiting a property on Prairie
   15· ·Avenue in September of 2021 that you sued?                                     17:18
   16· · · · A.· · Prairie Avenue?
   17· · · · Q.· · 15014 Prairie Avenue.
   18· · · · A.· · I don't.· Doesn't ring a bell.
   19· · · · Q.· · You remember suing a property on 15202 Prairie
   20· ·Avenue in Lawndale in September of 2021?
   21· · · · A.· · No, I don't remember.
   22· · · · Q.· · Do you remember visiting property -- a                              17:19
   23· ·property located at 1155 East Colorado Boulevard in
   24· ·September of 2021?· That's in Pasadena.· It's a Michael's
   25· ·store.


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   ·1· · · · A.· · I remember that.                                                    17:19
   ·2· · · · Q.· · Have you been back there?
   ·3· · · · A.· · I have not been back there.· It hasn't settled
   ·4· ·yet.
   ·5· · · · Q.· · Do you remember suing a property located at
   ·6· ·475 Foothill Boulevard in La Canada in September of 2021?                      17:20
   ·7· · · · A.· · Is that a Star -- Starbucks, I believe?
   ·8· · · · Q.· · I can't tell you.
   ·9· · · · A.· · I don't recall.
   10· · · · Q.· · Do you remember suing a donut store at 11038
   11· ·South Inglewood Avenue in Inglewood in September of 2021?
   12· · · · A.· · No, I don't recall.                                                 17:20
   13· · · · Q.· · Do you remember suing a property located at
   14· ·403 South La Brea Avenue in Inglewood in September of
   15· ·2021?
   16· · · · A.· · No, I don't recall.
   17· · · · Q.· · You don't recall visiting that property in
   18· ·September?
   19· · · · A.· · I recall visiting some properties in Inglewood
   20· ·off La Brea, yes.                                                              17:21
   21· · · · Q.· · Do you remember --
   22· · · · A.· · Yeah.
   23· · · · Q.· · Sorry, go ahead.
   24· · · · A.· · No, there was a rental equipment place I
   25· ·think, but that's all I -- I can think of.


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   ·1· · · · Q.· · Do you remember visiting a property at 16829
   ·2· ·Prairie Avenue in September of 2021?· That's in Lawndale.
   ·3· · · · MR. HASHEMI:· What was that address again, counsel?
   ·4· · · · MR. SAHELIAN:· 16829 Prairie in Lawndale.                                 17:21
   ·5· · · · MR. HASHEMI:· Is that a trick question?
   ·6· · · · MR. SAHELIAN:· I don't think so.
   ·7· · · · THE WITNESS:· What was the address again?
   ·8· · · · MR. SAHELIAN:· 16829 Prairie Avenue in Lawndale.
   ·9· · · · THE WITNESS:· Yeah, on September 15th of 2021.
   10· · · · Q.· · BY MR. SAHELIAN:· All right.· Do you remember
   11· ·suing a property located at 5950 Paramount Boulevard in                        17:22
   12· ·Long Beach in September of 2021?
   13· · · · A.· · No, I don't recall.
   14· · · · Q.· · Do you remember suing a property located at
   15· ·41 -- I should say business or property -- located at
   16· ·4125 Paramount Boulevard in Lakewood which you allege you                      17:22
   17· ·visited in September of 2021?
   18· · · · A.· · No, I don't recall.
   19· · · · Q.· · Do you remember visiting a property located at
   20· ·3451 Torrance Boulevard in Torrance which you allege you
   21· ·visited in September of 2021?
   22· · · · A.· · I don't remember.
   23· · · · Q.· · Do you recall visiting a property located at
   24· ·4903 Torrance Boulevard in Torrance which you allege you                       17:23
   25· ·visited on September 26th of 2021?


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   ·1· · · · A.· · I don't recall.
   ·2· · · · Q.· · Do you remember visiting a property located at
   ·3· ·4435 Torrance Boulevard in Torrance which you allege you
   ·4· ·visited in September of 2021?                                                  17:23
   ·5· · · · A.· · No, I don't recall.
   ·6· · · · Q.· · Do you remember visiting a Vons at 4705
   ·7· ·Torrance Boulevard in September of 2021?· This is in
   ·8· ·Torrance.
   ·9· · · · A.· · Yeah, I remember Vons.
   10· · · · Q.· · Have you gone back to visit?
   11· · · · A.· · It hasn't settled yet.
   12· · · · Q.· · All right.· Would there be a reason you would                       17:24
   13· ·want to go to a Vons all the way in Torrance?
   14· · · · A.· · In Torrance, there's usually a reason why I'm
   15· ·down there.
   16· · · · Q.· · Do you remember suing a Men's Wearhouse in
   17· ·Torrance which you allege you visited in September of
   18· ·2021?
   19· · · · A.· · I don't recall.                                                     17:24
   20· · · · Q.· · This would be 18407 Hawthorne Boulevard.
   21· · · · A.· · I don't recall.
   22· · · · Q.· · Do you remember visiting a property located at
   23· ·3405 Sepulveda Boulevard in Torrance which you allege you
   24· ·visited in September of 2021?
   25· · · · A.· · I don't recall.


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   ·1· · · · Q.· · Do you remember visiting a business, Chase                          17:25
   ·2· ·Bank, at 10701 Pico Boulevard in September of 2021?
   ·3· · · · A.· · I don't -- I have accounts at Chase, so
   ·4· ·sometimes I do visit Chase.
   ·5· · · · Q.· · Do you remember visiting a property located at
   ·6· ·3470 South Sepulveda Boulevard in L.A. in September of                         17:25
   ·7· ·2021?
   ·8· · · · A.· · I don't recall.
   ·9· · · · Q.· · Do you remember visiting a property located at
   10· ·833 West Torrance Boulevard in Torrance in October of
   11· ·2021?
   12· · · · A.· · Again I don't recall.
   13· · · · Q.· · If I said it was the Alpine Village would that
   14· ·refresh your memory?                                                           17:26
   15· · · · A.· · Oh, yeah, I know Alpine Village, yeah.
   16· · · · Q.· · Have you been back there?
   17· · · · A.· · I've been back there.· They settled.
   18· · · · Q.· · So did you go back there?
   19· · · · A.· · Yes.
   20· · · · Q.· · Did you buy anything?
   21· · · · A.· · Yeah, I did.· I bought a -- a loaf of bread.
   22· ·They make -- they have a good bakery there.
   23· · · · Q.· · How often have you been back there?
   24· · · · A.· · Been there twice.
   25· · · · Q.· · And did you keep the receipts?                                      17:26


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   ·1· · · · A.· · I didn't keep the receipt.· I sent it to my
   ·2· ·attorney.
   ·3· · · · Q.· · And do you have the credit card -- invoices on
   ·4· ·your credit card?
   ·5· · · · MR. HASHEMI:· Assumes facts not in evidence.
   ·6· · · · · · · Go ahead.
   ·7· · · · THE WITNESS:· I'm not sure if I paid cash or if I
   ·8· ·used my credit card.
   ·9· · · · Q.· · BY MR. SAHELIAN:· How often do you pay cash
   10· ·versus using your credit card?
   11· · · · A.· · Just depends.· If I have the cash on me, I use                      17:27
   12· ·it.· If I don't, then I use my credit card.
   13· · · · Q.· · How many credit cards do you have?
   14· ·**· ·MR. HASHEMI:· I'm going to instruct not to answer
   15· ·that question, not reasonably calculated to lead to
   16· ·discoverable information, and it is asking for personal
   17· ·financial information.
   18· · · · MR. SAHELIAN:· Well, I disagree with you, counsel,
   19· ·because I'm entitled to know whether he's got evidence of
   20· ·having visited somewhere or not.· And part of that is --                       17:27
   21· ·part of that evidence is whether he has credit card
   22· ·receipts.
   23· · · · · · · So let me -- I'm not interested in prying into
   24· ·his business affairs, so I'll limit it this way.
   25· · · · Q.· · Mr. Shayler, is there one or more credit cards


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   ·1· ·that you use to purchase items when you visit these
   ·2· ·businesses that you ultimately end up suing?
   ·3· · · · MR. HASHEMI:· Objection, vague.                                           17:28
   ·4· · · · THE WITNESS:· No, I usually don't use credit cards.
   ·5· · · · Q.· · BY MR. SAHELIAN:· All right.· You remember
   ·6· ·suing -- strike that.
   ·7· · · · · · · Do you remember visiting a business at 1190
   ·8· ·West 190th Street in Gardena in October of 2021?
   ·9· · · · A.· · I don't recall.
   10· · · · Q.· · You remember visiting a property located at
   11· ·17450 -- that's 17450 Avalon Boulevard in Carson in                            17:28
   12· ·October of 2021?
   13· · · · A.· · I do not recall.
   14· · · · Q.· · All right.· You remember suing a business
   15· ·located at 300 West Victoria Street in Gardena in October
   16· ·of 2021?
   17· · · · A.· · I don't recall.
   18· · · · Q.· · Do you remember visiting a property located at                      17:29
   19· ·940 East Dominguez Street in October 2021?
   20· · · · A.· · And I don't recall.
   21· · · · Q.· · How about 603 East University Drive in Carson
   22· ·in October of 2021?
   23· · · · A.· · I don't recall.
   24· · · · Q.· · 17952 South Avalon in Carson in October of
   25· ·2021?                                                                          17:30


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   ·1· · · · A.· · Again I do not recall.
   ·2· · · · Q.· · 5053 North Huntington Drive in L.A. in October
   ·3· ·of 2021?
   ·4· · · · A.· · Again I do not recall.
   ·5· · · · Q.· · 1007 East Dominguez Street in Carson in
   ·6· ·October of 2021?
   ·7· · · · A.· · Again I don't recall.
   ·8· · · · Q.· · 20236 South Avalon Boulevard in Carson which                        17:30
   ·9· ·you visited in October 28, 2021?
   10· · · · MR. HASHEMI:· Argumentative, lacks foundation.
   11· · · · · · · Go ahead.
   12· · · · THE WITNESS:· I don't recall.
   13· · · · Q.· · BY MR. SAHELIAN:· Do you remember visiting a
   14· ·business located at 20700 South Avalon Boulevard in
   15· ·Carson on October 28, 2021?
   16· · · · A.· · I don't recall.
   17· · · · Q.· · All right.· Do you keep track of the                                17:31
   18· ·businesses that you sue, Mr. Shayler?
   19· · · · MR. HASHEMI:· Objection, vague.
   20· · · · THE WITNESS:· No, I do not.
   21· · · · Q.· · BY MR. SAHELIAN:· Do you have any documents at
   22· ·home that might -- that might help us understand which                         17:31
   23· ·businesses you've sued?
   24· · · · A.· · No, I don't keep any documents.
   25· · · · Q.· · Do you keep any records of which businesses


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   ·1· ·you visit after filing a lawsuit?
   ·2· · · · MR. HASHEMI:· Objection, lacks foundation,
   ·3· ·argumentative, and compound.· Asked and answered.
   ·4· · · · · · · Go ahead.                                                           17:31
   ·5· · · · THE WITNESS:· I don't keep any type of records.
   ·6· · · · Q.· · BY MR. SAHELIAN:· Did you file ADA lawsuits
   ·7· ·prior to the year 2019?
   ·8· · · · A.· · No.
   ·9· · · · Q.· · What was the first ADA lawsuit you ever filed?
   10· · · · A.· · Again I don't recall the first one I ever                           17:32
   11· ·filed.
   12· · · · Q.· · Do you make it a point to continue visiting
   13· ·all the businesses -- and I will submit to you I have
   14· ·336 -- all the 336 businesses that you've sued regularly?                      17:32
   15· · · · MR. HASHEMI:· Objection, vague and compound.
   16· · · · THE WITNESS:· Yes, I do.
   17· · · · Q.· · BY MR. SAHELIAN:· So if you don't have any
   18· ·records of which businesses you've sued, how do you
   19· ·remember which ones to go back to?
   20· · · · A.· · The attorney tells me.
   21· · · · Q.· · And if the attorney didn't tell you, would you
   22· ·go back to these businesses?                                                   17:33
   23· · · · MR. HASHEMI:· Objection, lacks foundation, calls for
   24· ·speculation, and incomplete hypothetical.
   25· · · · THE WITNESS:· Not sure.


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   ·1· · · · MR. SAHELIAN:· All right.· I have no further
   ·2· ·questions.
   ·3· · · · · · · Mr. Shayler, thank you for being patient with
   ·4· ·me.· I hope you have a nice evening.· I hope your pain in                      17:33
   ·5· ·your leg goes away and you're able to walk without
   ·6· ·experiencing pain.
   ·7· · · · · · · Mr. Hashemi, I know you're going to have less
   ·8· ·pain after you say good-bye to me because you won't have
   ·9· ·to deal with me.· So you'll be a much happier man in
   10· ·about two minutes.
   11· · · · MR. HASHEMI:· I don't think so, Mr. Sahelian.          I                  17:34
   12· ·actually take pleasure in working with you on these
   13· ·matters.
   14· · · · · · · I do have -- I'm going to interject a belated
   15· ·objection to every question that was presented that
   16· ·started with "do you remember suing or visiting."· Those
   17· ·all lack foundation.
   18· · · · · · · · · · · · · EXAMINATION
   19· · · · Q.· · BY MR. HASHEMI:· I do have a couple of
   20· ·follow-ups with respect to the questions, Mr. Shayler.
   21· · · · · · · Do you recall earlier today counsel showed you                      17:35
   22· ·a photo of you taking a measurement on the ground and
   23· ·where the ground had a crack on it?
   24· · · · A.· · I remember.
   25· · · · Q.· · And that photo didn't depict you using a cane


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   ·1· ·or a rollator; did it?                                                         17:35
   ·2· · · · MR. SAHELIAN:· Okay.· Hang on, hang on, I'm going to
   ·3· ·voice an objection.· That was leading.· That was
   ·4· ·textbook-definition leading, Mr. Hashemi.· But you know
   ·5· ·what?· Let him answer it.
   ·6· · · · MR. HASHEMI:· Okay.
   ·7· · · · Q.· · Please do, Mr. Shayler.
   ·8· · · · A.· · Those cracks were very small.· They are not
   ·9· ·going to cause me problems.
   10· · · · Q.· · My question was a little different.· Were
   11· ·you -- when you took that measurement, were you using                          17:35
   12· ·cane or a walker?
   13· · · · A.· · No, I was having a good day that day.
   14· · · · Q.· · Is that the reason why you weren't using --
   15· · · · A.· · Yeah.
   16· · · · Q.· · -- a cane or a walker?
   17· · · · A.· · Right.
   18· · · · Q.· · Please allow me to finish the question.
   19· · · · A.· · Okay.
   20· · · · Q.· · I'm no different than Mr. Sahelian, so my
   21· ·questions deserve the same amount of time so that Madam
   22· ·Court Reporter can write them down.
   23· · · · · · · Do you remember the back door photos that                           17:36
   24· ·counsel showed you?
   25· · · · A.· · I do.


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   ·1· · · · Q.· · Those were with respect to the subject
   ·2· ·property that we're here for today; right?
   ·3· · · · A.· · That's correct.
   ·4· · · · Q.· · And at the time you exited that back door till
   ·5· ·the time you entered your car, did you have to traverse
   ·6· ·the access aisle with the alleged excessive slopes?
   ·7· · · · A.· · Yes.
   ·8· · · · MR. SAHELIAN:· Mr. Shayler, you didn't let me                             17:36
   ·9· ·interject with my objection.
   10· · · · THE WITNESS:· Okay.
   11· · · · MR. SAHELIAN:· The question is leading, it is vague,
   12· ·and it lacks foundation.
   13· · · · Q.· · BY MR. HASHEMI:· The counsel was asking you
   14· ·why -- you know, how you went about traversing that                            17:37
   15· ·access aisle.· Did you have a fear of falling while you
   16· ·were traversing that access aisle?
   17· · · · THE REPORTER:· I'm having trouble understanding you.
   18· · · · MR. SAHELIAN:· Babak, you need to raise your volume.
   19· · · · MR. HASHEMI:· I get it.· I think what I'm doing is                        17:37
   20· ·I'm not facing the microphone correctly.· So how is that?
   21· · · · THE REPORTER:· Better.
   22· · · · MR. SAHELIAN:· Enunciate your words.
   23· · · · MR. HASHEMI:· This is like second grade again.
   24· · · · Q.· · From the time --?· What part of the question
   25· ·did you get, Madam Reporter?


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   ·1· · · · THE REPORTER:· "Did you have."
   ·2· · · · MR. SAHELIAN:· Slow down, Babak, slow down.
   ·3· · · · Q.· · BY MR. HASHEMI:· Did you have any fear of
   ·4· ·falling while you were traversing the access aisle that                        17:38
   ·5· ·was depicted in the photo that counsel showed you?
   ·6· · · · A.· · As long as I have my walker, I felt -- I
   ·7· ·didn't think I was going to fall, but I -- I had to have
   ·8· ·my walker that day.
   ·9· · · · Q.· · Okay.· Would you have been able to traverse
   10· ·that access aisle without a walker that day?
   11· · · · A.· · Without a walker, not that day.                                     17:38
   12· · · · Q.· · Okay.· And would you have been able to
   13· ·traverse that access aisle with a cane that day?
   14· · · · A.· · No.
   15· · · · Q.· · What was --?· Why was that?
   16· · · · A.· · My -- my legs were unsteady and shaking.· You
   17· ·know?· I just -- they were -- they were unsteady.
   18· · · · Q.· · And was that the cause of your anxiety, sir?
   19· · · · MR. SAHELIAN:· Now that was a leading --                                  17:39
   20· · · · THE WITNESS:· (Simultaneous dialog.)
   21· · · · MR. SAHELIAN:· Slow down.· That was a leading
   22· ·question.· Okay?· The proper way to ask that question
   23· ·would have been, "What did you experience."· But you get
   24· ·my point, Babak.· Go ahead.
   25· · · · Q.· · BY MR. HASHEMI:· These are follow-up


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   ·1· ·questions.· I think a judge would rule differently, but
   ·2· ·go ahead, Mr. Shayler.
   ·3· · · · A.· · Say the question again?
   ·4· · · · MR. HASHEMI:· Madam Reporter, may I ask that you
   ·5· ·read the question, please.
   ·6· · · · · · · (The record was read as follows:
   ·7· · · · · · · · "And was that the cause of your anxiety,                          17:39
   ·8· · · · · · sir?")
   ·9· · · · THE WITNESS:· Yes.                                                        17:40
   10· · · · Q.· · BY MR. HASHEMI:· Okay.· What specifically
   11· ·caused you anxiety?
   12· · · · A.· · The slope of -- the slope of the access aisle.
   13· · · · Q.· · Was there --?· Was there an emotion that
   14· ·caused you that anxiety, sir?
   15· · · · A.· · An emotion?
   16· · · · Q.· · Yes.
   17· · · · A.· · No, there wasn't a --.· I'm not sure of the                         17:40
   18· ·answer to that.
   19· · · · Q.· · Did you -- did you experience fear?
   20· · · · A.· · Yeah.
   21· · · · MR. SAHELIAN:· Well, that right there was leading
   22· ·again.· That was leading again, Mr. Hashemi.· Come on.
   23· · · · Q.· · BY MR. HASHEMI:· Why would you experience
   24· ·fear?
   25· · · · A.· · I had fear because I had to traverse against


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   ·1· ·that slope.
   ·2· · · · Q.· · What is that fear of?
   ·3· · · · A.· · Fear of falling.                                                    17:40
   ·4· · · · Q.· · You testified that you've fallen three or four
   ·5· ·times just in the past 12 months; correct?
   ·6· · · · A.· · Yes, I have.
   ·7· · · · Q.· · Has your medical condition changed in the past
   ·8· ·12 months where you would be subject to -- strike that.
   ·9· · · · · · · Has your medical condition changed in any way
   10· ·in the last 12 months that would affect your fear of
   11· ·falling?
   12· · · · A.· · Yes, it has increased.                                              17:41
   13· · · · Q.· · Has that fear of falling affected your ability
   14· ·to traverse grounds where there's an excessive slope?
   15· · · · A.· · Yes.
   16· · · · MR. SAHELIAN:· Vague as to excessive slope.
   17· · · · · · · Go ahead.
   18· · · · MR. HASHEMI:· Thank you.                                                  17:42
   19· · · · Q.· · And with respect to the experience that you
   20· ·had with slopes, are you able to gauge whether a slope of
   21· ·a ground is acceptable or not just by standing on it or
   22· ·traversing on it?
   23· · · · A.· · Yes.
   24· · · · Q.· · And how are you able to gauge that?
   25· · · · A.· · By how much I'm -- by seeing how much the lean


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   ·1· ·on the slope is.
   ·2· · · · Q.· · The lean on your body or lean on -- I'm not                         17:42
   ·3· ·sure I understand.
   ·4· · · · A.· · Lean on my body.
   ·5· · · · Q.· · Okay.· How does that affect -- what -- can you
   ·6· ·explain how -- what you mean by lean on your body?
   ·7· · · · A.· · Well, I can see my body leaning a certain --
   ·8· ·certain way, and I can just tell that the slope is
   ·9· ·greater or -- than it should be.
   10· · · · Q.· · Does that put more pressure on one knee than
   11· ·the other?
   12· · · · MR. SAHELIAN:· Leading.· Leading.· Stop.· That was                        17:42
   13· ·textbook-leading --
   14· · · · Q.· · BY MR. HASHEMI:· Does that --
   15· · · · MR. SAHELIAN:· -- question.· Objection.
   16· · · · Q.· · BY MR. HASHEMI:· Does that also affect your
   17· ·ability to hold your assistive device with your right
   18· ·arm?· Right hand.
   19· · · · MR. SAHELIAN:· That's leading also, counsel.· That
   20· ·is another textbook-leading question.
   21· · · · THE WITNESS:· Yes, it causes me to have to tighten
   22· ·my -- my hand or...
   23· · · · Q.· · BY MR. HASHEMI:· Does that cause you pain?                          17:43
   24· · · · A.· · Yes.· Sure it does.
   25· · · · MR. HASHEMI:· Nothing further.


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   ·1· · · · · · · · · · · FURTHER EXAMINATION
   ·2· · · · Q.· · BY MR. SAHELIAN:· All right.· So, Mr. Shayler,
   ·3· ·you're convinced on the day you visited the Irish Pub you
   ·4· ·were having -- what? -- good day, bad day, or what kind                        17:43
   ·5· ·of a day?
   ·6· · · · A.· · That was a bad day.
   ·7· · · · Q.· · That was a bad day.· All right.· So September
   ·8· ·15th was a bad day, correct, 2021?
   ·9· · · · A.· · That was a bad day.
   10· · · · Q.· · Okay.· What about September 14th?· Was that a
   11· ·bad day?
   12· · · · A.· · I can't remember it was a bad day or a good
   13· ·day.· I don't -- I don't remember.
   14· · · · Q.· · All right.· So that September 14, 2021, you
   15· ·don't remember if it was a good day, bad day.· What about                      17:44
   16· ·September 13 of 2021?· How was that day?
   17· · · · A.· · I -- I don't recall.
   18· · · · Q.· · All right.· What about September 16 of 2021?
   19· ·Was that a good day or a bad day?
   20· · · · A.· · September 16th of '21.· I don't recall.
   21· · · · Q.· · What about September 17th of 2021?· Was that a
   22· ·good day or a bad day?
   23· · · · A.· · I don't recall.                                                     17:45
   24· · · · Q.· · What about September 18 of 2021?· Was that a
   25· ·good day or a bad day?


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   ·1· · · · A.· · If I was using my walker, it would be a bad
   ·2· ·day.· If I was using my cane or able to walk, then it
   ·3· ·would be a good day.
   ·4· · · · Q.· · All right.· Which were you using that day?
   ·5· · · · A.· · Again I do not recall.
   ·6· · · · Q.· · Did you write it anywhere?
   ·7· · · · A.· · I do not write that down which days I use and
   ·8· ·which time I don't.                                                            17:45
   ·9· · · · Q.· · So --
   10· · · · A.· · I can tell in the morning.
   11· · · · Q.· · So if we were to go back and try to figure out
   12· ·over the past year which one of your days were bad days
   13· ·and which ones were good days, how would we do that?
   14· · · · A.· · I'm not sure how we would do that.
   15· · · · Q.· · All right.· Fair answer.· So let's look back
   16· ·for a moment.· In the past year, can you name the                              17:45
   17· ·restaurants that you've sued in the past 12 months?
   18· ·Strike that.· Let me rephrase it.
   19· · · · · · · Can you name the restaurants that you visited
   20· ·and then sued in the past 12 months?
   21· · · · A.· · I cannot.
   22· · · · Q.· · Can you name a single one?
   23· · · · A.· · Single restaurant?
   24· · · · Q.· · That you have visited and then sued.· In the
   25· ·past 12 months.


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   ·1· · · · A.· · Um, I can't recall -- I can't recall what                           17:46
   ·2· ·restaurants I've sued and visited.· I can't recall that.
   ·3· · · · Q.· · Can you name the liquor stores that you have
   ·4· ·visited and then sued in the past 12 months?
   ·5· · · · A.· · Yeah, I don't know whether they've been sued
   ·6· ·or not.· I send the evidence to my attorney and whether                        17:46
   ·7· ·they sue them or not, I don't know.
   ·8· · · · Q.· · Can you name the grocery stores that you have
   ·9· ·visited and then sued in the past 12 months?
   10· · · · MR. HASHEMI:· Objection, compound.· Overbroad.· Now
   11· ·harassing.
   12· · · · THE WITNESS:· Yeah, Ralphs and Vons.
   13· · · · Q.· · BY MR. SAHELIAN:· Any others?
   14· · · · A.· · None that I recall.· I just know Ralphs and
   15· ·Vons.                                                                          17:47
   16· · · · Q.· · Can you name any gas stations that you have
   17· ·visited and then sued in the past 12 months?
   18· · · · A.· · No gas stations.
   19· · · · Q.· · Can you name any other retail stores that you
   20· ·have visited and sued in the past 12 months?
   21· · · · A.· · Manny Moe & Jack's.· Um, I can't recall any
   22· ·other ones.
   23· · · · Q.· · All right.· Same question but 24 months back,                       17:47
   24· ·can you remember any restaurants that you have visited
   25· ·and then sued in the past 24 months?


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   ·1· · · · A.· · I can't recall the restaurants that were sued
   ·2· ·or not sued.· I can't recall.
   ·3· · · · Q.· · Can you name any liquor stores that you have                        17:48
   ·4· ·visited and then sued in the past 24 months?
   ·5· · · · MR. HASHEMI:· Overbroad.
   ·6· · · · THE WITNESS:· J & B Liquor, Island Liquor.· Those
   ·7· ·are a couple I can remember.
   ·8· · · · Q.· · BY MR. SAHELIAN:· When was the last time you                        17:48
   ·9· ·went to any to purchase an item?
   10· · · · A.· · Say that again?
   11· · · · MR. SAHELIAN:· Madam Court Reporter?
   12· · · · · · · (The record was read as follows:
   13· · · · · · · · "When was the last time you went to any to
   14· · · · · · purchase an item?")
   15· · · · THE WITNESS:· Any store or --
   16· · · · Q.· · BY MR. SAHELIAN:· Either of those two liquor
   17· ·stores.
   18· · · · A.· · Sometime last year.
   19· · · · Q.· · Did you keep records?
   20· · · · A.· · No.
   21· · · · Q.· · Can you name the grocery stores that you                            17:49
   22· ·visited and then sued in the past 24 months?
   23· · · · MR. HASHEMI:· Overbroad.
   24· · · · THE WITNESS:· Ralphs and Vons.
   25· · · · Q.· · BY MR. SAHELIAN:· Any others?


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   ·1· · · · A.· · I don't recall their names.
   ·2· · · · Q.· · Can you name any retail store, any other
   ·3· ·retail stores that you have --                                                 17:49
   ·4· · · · A.· · That --
   ·5· · · · Q.· · One moment.· Let me finish.
   ·6· · · · · · · Can you name any other retail stores that you
   ·7· ·have visited and then sued in the past 24 months?
   ·8· · · · MR. HASHEMI:· Overbroad.
   ·9· · · · THE WITNESS:· 99 Cent Store.
   10· · · · Q.· · BY MR. SAHELIAN:· Any others?                                       17:50
   11· · · · A.· · That's all I can remember.· 99 Cent Store.
   12· · · · Q.· · All right.· Of the 336 lawsuits, lawsuits
   13· ·which I will submit you've filed since March of 2019, how
   14· ·many of the businesses can you name?· Take your time.
   15· · · · A.· · I don't keep track of the businesses that I've                      17:50
   16· ·sued.
   17· · · · Q.· · I am not asking you whether you keep track or
   18· ·not.· I'm asking you right now.· As you sit here, as you
   19· ·and I are talking, of the 336 lawsuits that you've filed,                      17:51
   20· ·how many of the businesses can you name that you've sued?
   21· · · · MR. HASHEMI:· Objection, compound.· Harassing.
   22· · · · THE WITNESS:· I can name a few.· Like I said, Vons,
   23· ·99 Cent Store, Ralphs.                                                         17:51
   24· · · · Q.· · BY MR. SAHELIAN:· Take your time.
   25· · · · A.· · That's it.· That's all I can remember.


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   ·1· · · · Q.· · Well, you mentioned Pep Boys a while ago.
   ·2· · · · A.· · Pep Boys.
   ·3· · · · Q.· · How about the Irish Pub?
   ·4· · · · A.· · Irish Pub.
   ·5· · · · Q.· · Okay.· Take your time.
   ·6· · · · A.· · Not going to help my memory.
   ·7· · · · Q.· · Did you need a break maybe to remember some                         17:52
   ·8· ·additional ones?
   ·9· · · · A.· · No.
   10· · · · Q.· · Is that a no?
   11· · · · A.· · No.
   12· · · · Q.· · Any other businesses that you remember
   13· ·visiting and then suing?
   14· · · · MR. HASHEMI:· Objection, asked and answered.
   15· · · · THE WITNESS:· I don't recall businesses that I sued.
   16· ·Okay?                                                                          17:52
   17· · · · MR. SAHELIAN:· Okay.· Thank you, Mr. Shayler.          I
   18· ·appreciate your time.
   19· · · · · · · Any further questions, Mr. Hashemi?
   20· · · · · · · · · · · FURTHER EXAMINATION
   21· · · · Q.· · BY MR. HASHEMI:· Mr. Shayler, with respect to
   22· ·the good and bad days that we're talking about, is it
   23· ·possible that a good day can turn into a bad day or a bad
   24· ·day can turn into a good day, all within the same day?                         17:53
   25· · · · A.· · If I'm have --.· Yes, it can.· Usually if I'm


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   ·1· ·having a bad day, though, I don't take a chance.
   ·2· · · · Q.· · Okay.
   ·3· · · · A.· · But a bad day -- a good day can turn into a
   ·4· ·bad.
   ·5· · · · Q.· · Okay.· And is there any indication of how a
   ·6· ·good day can turn into a bad day?· Are you able to
   ·7· ·predict that in any way?                                                       17:53
   ·8· · · · A.· · No, I can't predict.· I just try not to stress
   ·9· ·myself and overwork my legs.
   10· · · · Q.· · Okay.· So on a good day, you try to maintain
   11· ·your movements in such a way that you don't overstress?
   12· · · · MR. SAHELIAN:· Okay, you're now leading.· You're now
   13· ·leading.· I'm going to object.
   14· · · · MR. HASHEMI:· I'm not --
   15· · · · MR. SAHELIAN:· I'm going to object to this line.
   16· · · · MR. HASHEMI:· I'm not -- I'm not done with the                            17:54
   17· ·question for an objection to be lodged.· So...
   18· · · · Q.· · On a good day, you carry yourself in such a
   19· ·way that hopefully it doesn't turn into a bad day.· But
   20· ·on a bad day, is it -- am I correct in understanding that
   21· ·a bad day doesn't turn into a good day; correct?
   22· · · · A.· · Right.
   23· · · · Q.· · Okay.
   24· · · · A.· · I just don't take that chance because --
   25· ·because if I fall, I can't get up.


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   ·1· · · · MR. HASHEMI:· Right.· Okay.· Nothing further.                      17:54
   ·2· · · · MR. SAHELIAN:· All right.· Now, Mr. Shayler, I'm
   ·3· ·going to give you Mr. Hashemi's cell phone number.· Any
   ·4· ·time you have a bad day, you call him and he'll cheer you
   ·5· ·up.· He will make it a good day.
   ·6· · · · MR. HASHEMI:· And I will put a permanent forwarding
   ·7· ·from my phone number to Mr. Sahelian so that way he will
   ·8· ·have to reject your call as long as he's counsel of
   ·9· ·record.
   10· · · · MR. SAHELIAN:· Absolutely.· I will cheer up anybody.
   11· ·Ask anybody that knows me.· I will cheer them up.                       17:55
   12· · · · · · · All right.· Thank you very much, everyone.
   13· · · · THE REPORTER:· Babak, do you need a copy?
   14· · · · MR. HASHEMI:· Yes.
   15· · · · · · · · · · · · ·*· *· *· *        *
   16· · · · (Deposition proceedings concluded at 5:56 p.m.)
   17· · · · (Declaration under penalty of perjury on the
   18· ·following page hereof.)
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   ·1· · · · · · · DECLARATION RE DEPONENT'S READING,
   ·2· · · · · · · ·CORRECTING AND SIGNING DEPOSITION
   ·3
   ·4· · · · I hereby declare under penalty of perjury that the
   ·5· ·foregoing is my deposition under oath; are the questions
   ·6· ·asked of me and my answers thereto; that I have read same
   ·7· ·and have made the necessary corrections, additions or
   ·8· ·changes to my answers that I deem necessary.
   ·9
   10· · · · IN WITNESS THEREOF, I hereby subscribe my name this
   11· ·_______ day of __________________, 202___.
   12
   13
   14· · · · · · · ·________________________________
   15· · · · · · · · · · ·JAMES WILLEY SHAYLER
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   ·3· · · · · · · · · · REPORTER'S CERTIFICATE

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   ·6· · · · · · ·The undersigned Certified Shorthand Reporter

   ·7· ·licensed in the State of California does hereby certify:

   ·8· · · · · · ·That the foregoing deposition was taken by me

   ·9· ·at the time and at the location of the witness, at which

   10· ·time the witness was duly sworn by me;

   11· · · · · · ·That the testimony of the witness and all

   12· ·objections made at the time of the examination were

   13· ·recorded stenographically by me to the best of my ability

   14· ·to understand the witness and were thereafter

   15· ·transcribed, said transcript being a true copy of my

   16· ·shorthand notes thereof.

   17· · · · · · ·The dismantling, unsealing, or unbinding of the

   18· ·original transcript will render the Reporter's

   19· ·Certificate null and void.

   20· · · · · · ·In witness whereof, I have subscribed my name

   21· ·this date:· 8/11/2022.

   22

   23

   24· · · · · ___________________________________________
   · · · · · · Linda A. Simpson, CSR, RPR, RMR, CRR, CCRR
   25· · · · · · · · · · Certificate Number 2266


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